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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
                               SEATTLE DIVISION

FRANCIS GIMBEL, JR., Derivatively on     )   Civil Action No.
Behalf of AMAZON.COM, INC.,              )
                                         )   VERIFIED STOCKHOLDER DERIVATIVE
                      Plaintiff,         )   COMPLAINT
                                         )
      v.                                 )
                                         )
JEFFREY P. BEZOS, ANDREW R. JASSY,       )
BRIAN T. OLSAVSKY, DAVID H. CLARK,       )
SHELLEY L. REYNOLDS, ADAM N.             )
SELIPSKY, DAVID ZAPOLSKY, KEITH B.       )
ALEXANDER, EDITH W. COOPER, JAMIE        )
S. GORELICK, DANIEL P.                   )
HUTTENLOCHER, JUDITH A. MCGRATH,         )
INDRA K. NOOYI, JONATHAN J.              )
RUBINSTEIN, PATRICIA Q. STONESIFER,      )
WENDELL P. WEEKS, TOM A. ALBERG,         )
ROSALIND BREWER, THOMAS O.               )
RYDER, and NATE SUTTON,                  )
                                         )
                      Defendants,
                                         )
      – and –                            )
                                         )
AMAZON.COM, INC., a Delaware             )
Corporation,                             )
                                         )   DEMAND FOR JURY TRIAL
                    Nominal Defendant.   )
                                         )
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1            Plaintiff Francis Gimbel, Jr. (“Plaintiff”), by and through undersigned counsel, submits this

2    Verified Stockholder Derivative Complaint for breach of fiduciary duties, corporate waste, and

3    unjust enrichment. Plaintiff alleges the following based on personal knowledge, and as to all other

4    matters outside Plaintiff’s personal knowledge, upon information and belief based on the

5    investigation of undersigned counsel, which includes, without limitation: (i) review and analysis

6    of public filings with the United States Securities and Exchange Commission (“SEC”); (ii) review

7    and analysis of court filings in (a) the related securities class action lawsuit filed against

8    Amazon.com, Inc. (“Amazon” or the “Company”) and certain of its executive officers captioned

9    Joyce v. Amazon, Inc. et al., No. 2:22-cv-617 (W.D. Wash.) (the “Securities Class Action”);

10   (b) consumer class action lawsuits alleging violations of, inter alia, the Illinois Biometric

11   Information Privacy Act, 740 ILCS 14/1 et seq. (“BIPA”), and other state privacy laws

12   (collectively, the “Consumer Class Actions”); 1 and (c) District of Columbia v. Amazon.com, Inc.,

13   No. 2021 CA 001775 (D.C. Sup. Ct.), and In re Amazon.com, Inc. eBook Antitrust Litigation, No.

14   1:21-cv-351-GHW-DCF (collectively, the “Antitrust Actions”); and (iii) review and analysis of

15   press releases, news reports, analyst reports, industry reports, investor conference call transcripts

16
     1
17     Specifically, the Consumer Class Actions include: Cooper v. Amazon.com Inc. et al., No.
     1:21CV04633 (N.D. Ill.); Ragsdale v. Amazon Web Services, Inc., No. 1:20CV00560 (N.D. Ill.);
18   Redd v. Amazon.com, Inc. et al., No. 1:20CV06485 (N.D. Ill.); Hryniewicki v. Amazon Web
     Services, Inc., No. 1:19CV07569 (N.D. Ill.); Hogan v. Amazon.com Inc., No. 2:21CV00905 (W.D.
19   Wash.); McGoveran v. Amazon Web Services, Inc. et al., No. 3:20CV00031 (S.D. Ill.); Vance v.
20   Amazon.com, Inc., No. 2:20CV1084 (W.D. Wash.); Flores v. Amazon.com Inc. et al., No.
     2:21CV00873 (W.D. Wash.); Flores v. Amazon.com Inc. et al., No. 1:21CV04064 (N.D. Ill.);
21   Wilcosky v. Amazon.Com, Inc. et al., No. 1:19CV05061 (N.D. Ill.); Mayhall v. Amazon Web
     Services Inc. et al., No. 2:21CV01473 (W.D. Wash.); Reid v. Amazon.com Inc. et al., No.
22   1:21CV06010 (N.D. Ill.); Schaeffer v. Amazon.com, Inc. et al., No. 3:21CV01080 (S.D. Ill.);
     McGoveran v. Amazon Web Services, Inc. et al., No. 1:20CV01399 (D. Del.); Svoboda v.
23
     Amazon.com Inc. et al., No. 1:21CV05336 (N.D. Ill.); and Dorian v. Amazon Web Services, Inc.,
24   No. 2:22-cv-00269 (W.D. Wash.).



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1    and slides, and other information available in the public domain.

2    I.        INTRODUCTION 2

3              1.       This is a stockholder derivative action brought on behalf of and for the benefit of

4    Amazon, against certain of its current and former officers and directors (the “Individual

5    Defendants,” defined herein), seeking to remedy their breaches of fiduciary duties, waste of

6    corporate assets, and unjust enrichment, which have caused substantial economic and reputational

7    harm to the Company.

8              2.       Amazon is a leading multinational technology company, specializing in e-

9    commerce, cloud-based servicing, streaming and artificial intelligence. According to its public

10   filings, Amazon “seek[s] to be Earth’s most customer-centric company.” Amazon was founded in

11   1994 and is headquartered in Seattle, Washington. Its common stock trades on the NASDAQ

12   under the ticker symbol “AMZN.”

13             3.       Throughout the relevant period, the Individual Defendants breached their fiduciary

14   duties owed to the Company by knowingly and/or recklessly causing the Company to store the

15   biometric information of its employees, users, and its cloud-based clients’ users, including minors,

16   without informing them of these practices and without securing users’ written consent, and to fail

17   to develop a written policy available to the public that set a retention schedule and guidelines for

18   users to permanently destroy biometric identifiers when the initial purpose for collection was

19   satisfied in direct violation of BIPA and other states’ privacy laws.

20             4.       The Individual Defendants further breached their fiduciary duties and violated the

21   law by causing the Company to engage in various anticompetitive practices against third party

22   sellers (“TPSs”), including (i) causing the online retailer to enter into contracts with TPSs that had

23
     2
24       All emphasis herein is added unless otherwise stated.



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1    the effect of inflating prices for consumers through policies that guaranteed Amazon a minimum

2    profit on each item sold, while simultaneously discouraging TPSs from offering their products at

3    lower prices through other retailers; and (ii) giving Amazon private-label products preference over

4    those of its competitors using TPSs’s non-public data.

5           5.       Finally, the Individual Defendants also misled the investing public in the

6    Company’s SEC filings and other public statements regarding Amazon’s business and compliance

7    with applicable laws and regulations, as detailed further below.

8           6.       As a result of their misconduct and unbeknownst to the investing public, the

9    Individual Defendants exposed Amazon to heightened risks of increased regulatory scrutiny,

10   government investigations and enforcement actions, and legal exposure otherwise, and Amazon’s

11   revenues were, at least in part, the product of impermissible and illegal conduct, and were thus

12   unsustainable at all relevant times.

13          7.       In addition, as a result of the Individual Defendants’ breaches of fiduciary duties

14   detailed herein, the Company has suffered significant damages, including being named as a

15   defendant in the Securities Class Action, Consumer Class Actions, and Antitrust Actions, as well

16   as becoming the subject of a criminal investigation (“Criminal Investigation”) by the U.S.

17   Department of Justice (“DOJ”) and a government probe into Amazon’s public disclosures

18   regarding its business practices by the SEC (“SEC Probe”), and the Company continues to be

19   subjected to mounting damages by failing to redress the harms complained of herein.

20          8.       The Individual Defendants face a substantial likelihood of liability to the Company

21   for their misconduct, including, among other things: (i) directly participating in the improper

22   schemes and misconduct described herein; (ii) affirmatively making, allowing to be made, and/or

23   failing to correct improper statements in SEC filings and other public disclosures relating to the

24   Company’s business and operations, internal controls, legal proceedings, legal compliance, and



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1    risks (including financial, operational, legal, regulatory, and enforcement risks); (iii) failing to

2    maintain an adequate system of oversight, accounting controls and procedures, disclosure controls,

3    and other internal controls, which were necessary to prevent or correct violations of the law and

4    improper statements made on the Company’s behalf; (iv) failing to ensure the Company’s

5    compliance with relevant legal and regulatory requirements, including, but not limited to,

6    requirements imposed under biometric privacy laws and antitrust laws, as well as state and federal

7    securities laws; and (v) ignoring red flags indicating inadequate internal controls over compliance

8    with biometric privacy laws and antitrust laws, as well as state and federal securities laws, and

9    indicating violations the same.

10           9.       Due to the Amazon Board of Directors’ (the “Board”) knowledge of illegal conduct

11   and involvement in the wrongdoing, its blatant failure to act (including to stop or correct violations

12   of the law), its members’ lack of independence, and the substantial likelihood of liability its

13   members face, any demand upon the Board to rectify this wrongdoing would be a wasteful, useless,

14   and futile act. Accordingly, Plaintiff properly brings this action to remedy the harm to Amazon

15   caused by Defendants’ faithless actions and inaction.

16   II.     JURISDICTION AND VENUE

17           10.      This Court has jurisdiction under 28 U.S.C. § 1332. Complete diversity among the

18   parties exists and the amount in controversy exceeds $75,000, exclusive of interest and costs.

19           11.      This Court has jurisdiction over each named Defendant.

20           12.      Additionally, this Court has specific jurisdiction over each named Defendant herein

21   because each Defendant is either a corporation that conducts business in and maintains operations

22   in this District, or is an individual who has sufficient minimum contacts with this District so as to

23   render the exercise of jurisdiction by the District Court permissible under traditional notions of

24   fair play and substantial justice.



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1            13.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because: (i) Amazon

2    maintains executive offices in this District; (ii) one or more of the Defendants either resides in or

3    maintains executive offices in this District; (iii) a substantial portion of the transactions and wrongs

4    complained of herein, including the Defendants' primary participation in the wrongful acts detailed

5    herein, and aiding and abetting and conspiracy in violation of fiduciary duties owed to Amazon

6    occurred in this District; and (iv) Defendants have received substantial compensation in this

7    District by doing business here and engaging in numerous activities that had an effect in this

8    District.

9    III.    THE PARTIES

10           A.       Plaintiff

11           14.      Plaintiff was an Amazon stockholder at the time of wrongdoing complained of, has

12   continuously been a stockholder since that time, and is a current Amazon stockholder.

13           15.      Plaintiff is a citizen of the State of Pennsylvania.

14           B.       Nominal Defendant

15           16.      Nominal Defendant Amazon is a publicly traded Delaware corporation with its
16   principal executive offices located at 410 Terry Avenue North, Seattle, Washington.
17           17.      The Company’s common stock trades on the NASDAQ under the ticker symbol
18   “AMZN.” Amazon has over 508 million shares of common stock outstanding.
19           C.       Defendants
20           18.      Defendant Jeffrey P. Bezos (“Bezos”) is the founder and Executive Chair of
21   Amazon’s Board of Directors. Throughout the relevant period, Amazon has paid Defendant Bezos
22   the following compensation:
23
                                                  Stock            All Other
24                 Year           Salary         Awards          Compensation            Total


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1                 2021     $81,840               -         $1,600,000          $1,681,840

2                 2020     $81,840               -         $1,600,000          $1,681,840

3                 2019     $81,840               -         $1,600,000          $1,681,840
                  2018     $81,840               -         $1,600,000          $1,681,840
4

5           19.      Upon information and belief, Defendant Bezos is a citizen of the State of
6    Washington.
7           20.      Defendant Andrew R. Jassy (“Jassy”) is the President and Chief Executive Officer
8    of Amazon and also serves on its Board of Directors. He founded Amazon Web Services and
9    served as CEO of from April 2016 to July 2021.
10          21.      Throughout the relevant period, Amazon has paid Defendant Jassy the following
11   compensation:
12
                                              Stock           All Other
13
                   Year       Salary         Awards         Compensation          Total
14                2021     $175,000        $211,933,520    $592,649            $212,701,169

15                2020     $175,000         $35,639,068    $34,381             $35,848,449
                  2019     $175,000              -         $173,809            $348,809
16
                  2018     $175,000         $19,466,434    $91,232             $9,732,666
17

18          22.      Upon information and belief, Defendant Jassy is a citizen of the State of
19   Washington.
20          23.      Defendant Brian T. Olsavsky (“Olsavsky”) is the Senior Vice President and Chief
21   Financial Officer of Amazon. Throughout the relevant period, Amazon has paid Defendant
22   Olsavsky the following compensation:
23
                                               Stock          All Other
24                 Year       Salary          Awards        Compensation           Total


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1                 2021        $160,000            -         $3,200               $163,200

2                 2020        $160,000       $17,010,985    $3,200               $17,174,185

3                 2019        $160,000            -         $3,200               $163,200
                  2018        $160,000       $6,770,149     $3,200               $6,933,349
4

5           24.      Upon information and belief, Defendant Olsavsky is a citizen of the State of
6    Washington.
7           25.      Defendant David H. Clark (“Clark”) is the Chief Executive Officer of Worldwide
8    Consumer. On June 3, 2022, Clark abruptly announced his resignation from Amazon, effective
9    July 1, 2022. Throughout the relevant period, Amazon has paid Defendant Clark the following
10   compensation:
11
                                                Stock          All Other
12
                   Year          Salary        Awards        Compensation           Total
13                2021        $175,000       $55,589,120    $310,451             $56,074,571

14                2020        $160,000       $46,121,888    $6,783               $46,288,671

15
            26.      Upon information and belief, Defendant Clark is a citizen of the State of Texas.
16
            27.      Defendant Shelley L. Reynolds (“Reynolds”) is Amazon’s Vice President,
17
     Worldwide Controller and Principal Accounting Officer. Upon information and belief, Defendant
18
     Reynolds is a citizen of the State of Washington.
19
            28.      Defendant Adam N. Selipsky (“Selipsky”) is the Chief Executive Officer of
20
     Amazon Web Services. Throughout the relevant period, Amazon has paid Defendant Selipsky the
21
     following compensation:
22
                                                Stock           All Other
23                 Year          Salary        Awards        Compensation           Total
24                2021        $109,722       $81,294,756    $49,045              $81,453,523
              I           I

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1           29.      Upon information and belief, Defendant Selipsky is a citizen of the State of

2    Washington.

3           30.      Defendant David Zapolsky (“Zapolsky”) is Amazon’s Vice President, General

4    Counsel and Secretary. Throughout the relevant period, Amazon has paid Defendant Zapolsky the

5    following compensation:

6                                              Stock            All Other
                   Year       Salary          Awards         Compensation         Total
7
                  2021     $160,000              -          $3,200             $163,200
8                 2020     $160,000         $17,010,985     $3,200             $17,174,185
9           31.      Upon information and belief, Defendant Zapolsky is a citizen of the State of
10   Washington.
11          32.      Defendant Keith B. Alexander (“Alexander”) has served a director of the Company
12   since September 2020. In addition, he also serves as a member of the Audit Committee. Amazon
13   compensated Defendant Alexander at least $934,297 in Stock Awards in 2020. Upon information
14   and belief, Defendant Alexander is a citizen of the State of Michigan.
15          33.      Defendant Edith W. Cooper (“Cooper”) has served as a director of the Company
16   since September 2021. In addition, she also serves as a member of the Leadership Development
17   and Compensation Committee. Amazon compensated Defendant Cooper at least $958,171 in
18   Stock Awards in 2021. Upon information and belief, Defendant Cooper is a citizen of the State of
19   Connecticut.
20          34.      Defendant Jamie S. Gorelick (“Gorelick”) has served as a director of the Company
21   since February 2012. In addition, she also serves as Chair of the Nominating and Corporate
22   Governance Committee. Amazon compensated Defendant Gorelick at least $938,533 in Stock
23   Awards in 2020 and $952,741 in Stock Awards in 2018. Upon information and belief, Defendant
24   Gorelick is a citizen of State of Maryland.



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1           35.     Defendant Daniel P. Huttenlocher (“Huttenlocher”) has served as a director of the

2    Company since September 2016. In addition, he also serves as a member of the Leadership

3    Development and Compensation Committee. Amazon compensated Defendant Huttenlocher at

4    least $951,489 in Stock Awards in 2019. Upon information and belief, Defendant Huttenlocher is

5    a citizen of the State of New York.

6           36.     Defendant Judith A. McGrath (“McGrath”) has served as a director of the Company

7    since July 2014. In addition, she also serves as Chair of the Leadership Development and

8    Compensation Committee. Amazon compensated Defendant McGrath at least $934,297 in Stock

9    Awards in 2020. Upon information and belief, Defendant McGrath is a citizen of the State of

10   California.

11          37.     Defendant Indra K. Nooyi (“Nooyi”) has served as a director of the Company since

12   February 2019.     In addition, she also serves as Chair of the Audit Committee.        Amazon

13   compensated Defendant Nooyi at least $901,729 in Stock Awards in 2019. Upon information and

14   belief, Defendant Nooyi is a citizen of the State of Connecticut.

15          38.     Defendant Jonathan J. Rubinstein (“Rubinstein”) has served as a director of the

16   Company since December 2010. In addition, he also serves as Lead Director and as a member of

17   the Nominating and Corporate Governance Committee.              Amazon compensated Defendant

18   Rubinstein at least $951,489 in Stock Awards in 2019. Upon information and belief, Defendant

19   Rubinstein is a citizen of the State of California.

20          39.     Defendant Patricia Q. Stonesifer (“Stonesifer”) has served as a director of the

21   Company since February 1997. In addition, she also serves as a member of the Nominating and

22   Corporate Governance Committee. Amazon compensated Defendant Stonesifer at least $951,489

23   in Stock Awards in 2019. Upon information and belief, Defendant Stonesifer is a citizen of the

24   District of Columbia.



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1           40.     Defendant Wendell P. Weeks (“Weeks”) has served as a director of the Company

2    since February 2016. In addition, he also serves as a member of the Audit Committee. Amazon

3    compensated Defendant Weeks at least $929,992 in Stock Awards in 2019 and at least $999,026

4    in Stock Awards in 2021. Upon information and belief, Defendant Weeks is a citizen of the State

5    of New York.

6           41.     Defendant Tom A. Alberg (“Alberg”) served as a director of the Company from

7    June 1996 until May 2019. In addition, he also served as a member of the Audit Committee. Upon

8    information and belief, Defendant Alberg is a citizen of State of Washington.

9           42.     Defendant Rosalind Brewer (“Brewer”) served as a director of the Company from

10   February 2019 until February 16, 2021.       Amazon compensated Defendant Brewer at least

11   $929,992 in Stock Awards in 2019. Upon information and belief, Defendant Brewer is a citizen

12   of the State of Washington.

13          43.     Defendant Thomas O. Ryder (“Ryder”) served as a director of the Company from

14   November 2002 until December 31, 2021. In addition, he served as a member of the Leadership

15   Development and Compensation Committee and as Chair of the Audit Committee. Amazon

16   compensated Defendant Ryder at least $951,489 in Stock Awards in 2019. Upon information and

17   belief, Defendant Ryder is a citizen of the State of Washington.

18          44.     Defendant Nate Sutton (“Sutton”) served as Amazon’s Associate General Counsel

19   at all relevant times. Upon information and belief, Defendant Sutton is a citizen of the State of

20   Washington.

21          45.     Collectively, Defendants Bezos, Jassy, Olsavsky, Clark, Reynolds, Selipsky,

22   Sutton, and Zapolsky are referred to herein as the “Officer Defendants.”

23          46.     Collectively, Defendants Bezos, Jassy, Alexander, Cooper, Gorelick, Huttenlocher,

24   McGrath, Nooyi, Rubinstein, Stonesifer, Weeks, Alberg, Brewer, and Ryder are referred to herein



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1    as the “Director Defendants.”

2           47.     Collectively, Defendants Alexander, Nooyi, Weeks, Alberg, and Ryder are referred

3    to herein as the “Audit Committee Defendants.”

4           48.     Collectively, Defendants Gorelick, Rubinstein, and Stonesifer are referred to herein

5    as the “Nominating and Corporate Governance Committee Defendants.”

6           49.     Collectively, Defendants Cooper, Huttenlocher, McGrath, and Ryder are referred

7    to herein as the “Leadership Development and Compensation Committee Defendants.”

8           50.     Collectively Defendants Bezos, Jassy, Olsavsky, Clark, Reynolds, Selipsky,

9    Zapolsky, Alexander, Cooper, Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Stonesifer,

10   Weeks, Alberg, Brewer, Ryder, and Sutton are referred to herein as the “Individual Defendants.”

11          51.     Collectively Defendants Bezos, Jassy, Alexander, Cooper, Gorelick, Huttenlocher,

12   McGrath, Nooyi, Rubinstein, Stonesifer, and Weeks are referred to herein as the “Demand Board.”

13
     IV.    THE INDIVIDUAL DEFENDANTS’ MISCONDUCT
14
            A.      Company Background: Amazon Is the Dominant Online Marketplace
15                  in the United States

16          52.     Founded in 1994, Amazon is now one of the world’s largest, most ubiquitous
17   companies, as well as the world’s largest retailer outside of China. It is the second largest private
18   employer in the United States and provides products and services including online retail, smart
19   home devices, cloud computing, and media streaming—including its own film and television
20   content. Originally an online book retailer, Amazon quickly expanded into music and videos, and
21   eventually electronics, toys, and other products prior to 2000. Presently, nearly any physical or
22   digital product imaginable can be purchased on Amazon worldwide.
23          53.     Amazon accounts for between 50-70% of total sales through online marketplaces.
24   The marketplace shares of the next two largest online marketplaces—Walmart.com and eBay—



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1    are in the single digits, by comparison.       Millions of TPSs sell through Amazon’s online

2    marketplace, whereas for example, only 110,000 TPSs sell on Walmart.com. Amazon is the

3    dominant online marketplace.

4           B.      Biometrics and Facial Recognition Technology

5           54.     Further expanding on its retail business, Amazon launched its cloud-computing

6    subsidiary, Amazon Web Services (“AWS”), in 2002. AWS provides a range of services to

7    business and individuals including web hosting, storage, distributed computing, and analytics.

8    Amazon is now the largest cloud computing service provider in the world. As part of the more

9    than 200 services provided to its customers, AWS regularly receives, processes, and stores

10   personal information of various individuals that provide this information to its customers.

11          55.     In 2014, Amazon began its foray into being an active presence in its customers’

12   homes with its Alexa virtual assistant. Amazon’s Alexa is now found on countless devices in

13   millions of households, including on smartphones, televisions, speakers, as well as in Amazon’s

14   Echo products. As part of its services, Amazon’s Alexa recognizes and stores details related to

15   voice patterns and makes and stores recordings of its interactions with users. Biometrics is the

16   technical term for measurements used to identify people’s unique physical characteristics.

17   Examples of biometric identifiers include an individual’s DNA, fingerprints, irises or retinas,

18   voiceprints, and facial geometry.      The uniqueness and potential permanence of biometric

19   identifiers present an advantage for businesses to accurately identify and distinguish individuals.

20   Businesses presently use biometrics in a wide variety of applications, including data collection.

21          56.     One technological application of biometrics is facial recognition software. Facial

22   recognition software uses biometrics to map facial features from a photograph or video. In

23   particular, the software uses an algorithm that calculates a unique digital representation of the face

24   based on the geometric relationship of a person's facial features (such as the distance between their



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1    eyes, ears, and nose), creating a face signature or map.         The software then compares the

2    information with a database of known faces to find a match.

3             57.   Facial recognition technology has been in use for many decades and is one of the

4    most widely used biometrics. Facial recognition technology uses the layout of facial features and

5    their distance from one another for identification against a “gallery” of faces with similar

6    characteristics. These characteristics can be derived from either a still or video images. Using

7    statistics, facial recognition algorithms can measure the differences between the face being

8    searched and the enrolled faces in a gallery. The smaller the difference, the more likely those faces

9    match.

10            58.   Facial recognition technology is primarily used for three different types of

11   applications: first, facial recognition technology can anonymously characterize faces. This allows

12   for counting unique faces presented to the sensor over a period of time (sometimes called a “people

13   counter”). Other functions include estimating the age, gender, ethnic origin, and even body mass

14   index of each unique face thus encountered, usually for marketing purposes. Second, facial

15   recognition technology can verify a face against a known image. For example, this would allow

16   for confirmation that a face presented at a border checkpoint matches the digital face embedded in

17   a document. It also allows for access control, such as at the entrance of a building with a known

18   and restricted population. This function is typically called “verification.” Third, facial recognition

19   technology allows for identification of a face against a number of known faces within a database.

20   For example, this allows for the technology to see if a criminal or terrorist in a surveillance video

21   matches any mug shot photos of people previously arrested or convicted. This function is typically

22

23

24



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1    called “identification.” 3

2            59.     Facial recognition technology has improved over the past decade. Lower costs and

3    increased accuracy have allowed companies like Amazon to deploy increasingly sophisticated

4    facial recognition software in their applications—but it also has raised serious privacy concerns.

5            60.     Biometrics present significant potential privacy threats to the individual if they are

6    compromised, such as a heightened risk for identity theft. While biometrics have been touted as a

7    way to improve security and potentially limit fraud, the use of biometrics raise grave concerns

8    about potential constant and surreptitious surveillance of individuals by the government and

9    private entities. Additionally, if a person’s biometric data is compromised, the harm could be

10   irreparable because this data would remain compromised. While other types of theft, such as

11   compromising of bank accounts or credit card numbers, can be mitigated by obtaining new account

12   information, people cannot obtain new biometric data facial bone structure or DNA. Additionally,

13   significant privacy concerns surround the use of biometric data.           These concerns include

14   employers’ ability to discover protected health information; ambiguous standards concerning

15   when biometric information can be shared, including with law enforcement; and multimodal big

16   data storage, in which multiple images and various types of biometrics are stored in a database for

17   widespread use.

18           61.     Due to the growing concern over the use of biometrics and facial recognition

19   technology, state laws, including in Illinois and Texas, prohibit commercial entities from capturing

20   an individual’s biometric identifier without his or her consent. Both states also require businesses

21   to protect biometrics using a reasonable standard of care that is the same as, or more protective

22

23   3
          “Face     Biometrics.”   IBIA,    https://www.ibia.org/biometrics-and-identity/biometric-
24   technologies/face. Accessed 1 Apr. 2022.



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1    than, that used for other confidential or sensitive information. They also prohibit selling or

2    disclosing a biometric without consent, with certain exceptions, such as for law enforcement

3    purposes. In addition, at least 19 states restrict using, disclosing or sharing biometric data by either

4    public or private entities, or require security measures, such as encrypting or properly destroying

5    records with biometrics. And at least 20 states have enacted legislation to protect the personal

6    biometric information of students or minors.

7           C.      The Illinois Biometric Information Privacy Act

8           62.     In 2008, the Illinois General Assembly enacted the Illinois BIPA to enhance the

9    state's "limited State law regulating the collection, use, safeguarding, and storage of biometrics[.]"

10   740 Ill. Comp. Stat. § 14/5(e). BIPA defines a "biometric identifier" as including a "scan of hand

11   or face geometry." 740 Ill. Comp. Stat. § 14/10. The legislature noted that "[b]iometrics are unlike

12   other unique identifiers that are used to access finances or other sensitive information," because

13   while social security numbers can be changed if compromised, biometric data are "biologically

14   unique to the individual," and "once compromised, the individual has no recourse, is at heightened

15   risk for identity theft, and is likely to withdraw from biometric-facilitated transactions." 740 Ill.

16   Comp. Stat. § 14/5(c).

17          63.     BIPA defines “biometric information” as:

18          a retina or iris scan, fingerprint, voiceprint, or scan of hand or face geometry.
            Biometric identifiers do not include writing samples, written signatures,
19          photographs, human biological samples used for valid scientific testing or
            screening, demographic data, tattoo descriptions, or physical descriptions such as
20
            height, weight, hair color, or eye color. Biometric identifiers do not include donated
21          organs, tissues, or parts as defined in the Illinois Anatomical Gift Act or blood or
            serum stored on behalf of recipients or potential recipients of living or cadaveric
22          transplants and obtained or stored by a federally designated organ procurement
            agency. Biometric identifiers do not include biological materials regulated under
23          the Genetic Information Privacy Act. Biometric identifiers do not include
            information captured from a patient in a health care setting or information collected,
24
            used, or stored for health care treatment, payment, or operations under the federal


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1           Health Insurance Portability and Accountability Act of 1996. Biometric identifiers
            do not include an X-ray, roentgen process, computed tomography, MRI, PET scan,
2           mammography, or other image or film of the human anatomy used to diagnose,
            prognose, or treat an illness or other medical condition or to further validate
3           scientific testing or screening.
4

5
     740 ILCS 14/10.

6
            64.     Under BIPA, a company may not collect or otherwise obtain a person or a

7
     customer's biometric identifier or biometric information without informing the subject in writing

8
     and securing a written release. Nor may a company profit from an individual's biometric identifiers

9
     and information. Moreover, companies must have a public, written policy establishing a retention

10
     schedule for biometric identifiers and information and guidelines for their permanent destruction.

11
     BIPA, §§ 14/15(a)–(e).

12
            65.     BIPA provides for a private right of action. For negligent violations of the Act,

13
     BIPA provides for liquidated damages of $1,000 or actual damages, whichever is greater for each

14
     violation; and in the case of intentional or reckless violations, statutory damages in the amounts of

15
     $5,000 or actual damages, whichever is greater for each violation. BIPA also provides for

16
     reasonable attorneys' fees and costs, including expert witness fees and other litigation expenses,

17
     and any other relief, including an injunction, as the state or federal court may deem appropriate.

18
                    D.      Other State Laws Also Restrict Capture and Use of Biometric Data

19          66.     Since 2009, Texas has also had a biometric privacy act that prohibits the capture of

20   an individual’s biometric identifiers for a commercial purpose unless the individual is first

21   informed and has consented to such data collection, the Capture or Use of Biometric Identifier Act

22   (“CUBI”). The law also limits the sale or disclosure of an individual’s biometric information

23   except under limited circumstances. In the law, “biometric identifier” means a retina or iris scan,

24   fingerprint, voiceprint, or recording of hand or face geometry.



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1            67.    A violation of the Texas law is subject to a civil penalty of not more than $25,000

2    for each violation. The attorney general may bring an action to recover the civil penalty. Unlike

3    BIPA, there is no statutory private right of action under the CBUI, but government enforcement

4    for violation of the CBUI poses enforcement risks in the millions of dollars. Therefore, there is

5    substantial civil exposure for noncompliance.

6            68.    In 2017, the State of Washington became the third state to enact a targeted biometric

7    privacy law, HB 1493. Since then, the states of Arkansas, California, and New York have

8    expanded cybersecurity data breach notification statutes to include protections for biometric data.

9    The states of Delaware, Michigan, Massachusetts, Arizona, and Alaska currently have legislation

10   pending concerning protecting biometric data.

11           69.    Underscoring the legal risks and magnitude of exposure, Facebook Inc.

12   (“Facebook”) recently reached a $650 million settlement for alleged violations of Illinois’ BIPA

13   for their use of facial recognition software without permission from affected users. The Texas

14   Attorney General has sued Facebook for alleged violations of the Texas Business and Commercial

15   Code, which contains provisions governing the collection, retention and disclosure of biometric

16   data.

17           70.    Given this legal and regulatory landscape, according to Defendant Bezos, serving

18   as the Company CEO, “Privacy is the one aspect of Alexa that Amazon can’t afford to screw up.”

19           E.     Amazon’s Collection and Use of Biometric Data

20           71.    Rekognition, which launched in November 2016, is Amazon's core facial

21   recognition product. Rekognition allows users to match new images of faces with existing, known

22   facial images “based on their visual geometry, including the relationship between the eyes, nose,

23   brow, mouth, and other facial features.” Rekognition is a cornerstone of many of Amazon's largest

24   consumer products and services, including its photo platform, Amazon Photos, its smart home



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1    systems and cameras, and its virtual assistant technology, Alexa.

2           72.     Amazon is also the largest provider of facial recognition technology to law

3    enforcement agencies. The Company has marketed its Rekognition software to agencies such as

4    the U.S. Immigration and Customs Enforcement and the Federal Bureau of Investigation, to

5    monitor individuals they consider “people of interest.” Amazon has also partnered with more than

6    1,300 law enforcement agencies, allowing them to use footage from their Ring home security

7    cameras in criminal investigations. Amazon has expanded these efforts marketing their facial

8    recognition software to government agencies despite warnings from consumers, employees,

9    members of Congress, and stockholders.

10          73.     In July 2018, the American Civil Liberties Union of Northern California ("ACLU")

11   published the results of a study it conducted regarding Rekognition's accuracy. According to the

12   study, Rekognition incorrectly matched twenty-eight members of the U.S. Congress to people who

13   had been arrested for a crime. The false matches disproportionately involved people of color. That

14   summer, nearly seventy civil rights and research organizations wrote a letter to Bezos demanding

15   that Amazon stop providing facial recognition technology to governments. In their letter, they

16   called the Company to “stand up for civil rights and civil liberties,” stating “Rekognition is a

17   powerful surveillance system readily available to violate rights and target communities of color."

18   Amazon's own employees demanded the Company to stop selling its Rekognition facial

19   recognition software to law enforcement, citing concerns over the “unique threat to civil rights and

20   especially to the immigrants and people of color under attack by [President Donald J. Trump's]

21   administration.”

22          74.     To improve the accuracy of its facial recognition products and technologies,

23   Amazon purportedly obtained a data set from IBM, referred to as the “Diversity in Faces Dataset”

24   after IBM made it available to for-profit companies in early 2019.



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1            75.     To access the Diversity in Faces Dataset, Amazon used the links provided by IBM

2    to download or otherwise obtain from the Flickr Dataset each photograph in order to associate the

3    biometric identifiers and information provided by IBM with the actual photographs to which the

4    biometric data related. Amazon's collection and use of the Diversity in Faces Dataset allowed it

5    to profit from such data, including data of Illinois residents obtained and used without their

6    consent, by allowing Amazon to improve the effectiveness of its own facial recognition technology

7    and products.

8            76.     Additionally, Amazon Alexa and Echo devices are designed to record and respond

9    to communications immediately after an individual says a wake word (usually “Alexa” or “Echo”).

10   If the wake word is recognized, Alexa records the ensuing communication and then transmits the

11   recording to Amazon’s servers for interpretation and processing before receiving the relevant data

12   in response. Alexa also records surrounding voices and sounds once activated, including those not

13   spoken by the user conversing with Alexa. Amazon uses voice recognition technology to

14   surreptitiously collect, use, and store voiceprints of its users to identify them, as well as using voice

15   pattern data in conjunction with other customer data for its recognition capabilities. Such

16   recordings are retained as part of a user’s account unless a user actively deletes them. Alexa

17   capability can be found on more than 100 million devices sold since January 2020. 4 These include

18   televisions, light bulbs, smart locks, phones, thermostats, appliances, speakers, and vehicles, in

19   addition to Amazon’s own line of Echo products.

20           77.     Finally, as part of Amazon’s suite of services offered through AWS to its numerous

21   commercial customers, AWS also stores various types of personal identifying information (“PII”),

22
     4
       Rubin, Ben Fox. “Amazon's Alexa World Just Got Much Bigger.” CNET, 6 Jan. 2020,
23
     https://www.cnet.com/home/smart-home/amazon-sees-alexa-devices-more-than-double-in-just-
24   one-year/. Accessed 1 Apr. 2022.



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1    including biometric information, that is collected by those customers. Such information can

2    include, for example, fingerprints or hand scans of an AWS customer’s employees for security and

3    identification purposes.    Additionally, AWS stores PII of the individual customers of its

4    commercial AWS customers, such as voiceprints used to identify callers to a call center or even

5    the scanned facial geometry of players of video games.

6            78.    In and around September 2021, Amazon announced a series of new updates,

7    focusing on the biometric capabilities of some of its hardware products, as well as on the

8    company’s AWS marketplace. 5 By way of example, at its Enterprise Connect event on Monday

9    September 27, 2021, the retail giant announced three new capabilities for Amazon Connect for

10   contact centers. According to the company’s new data, tens of thousands of AWS customers are

11   supporting more than 10 million contact center interactions a day on Amazon Connect. The new

12   platform updates employ voice biometrics via AWS’s caller authentication tool Amazon Connect

13   Voice ID. The biometric solution reportedly provides real-time caller authentication and enables

14   voice access via machine learning by analyzing the caller’s speech attributes, like rhythm, pitch,

15   and tone. Another biometric update unveiled by Amazon at its product launch event related to the

16   Echo Show 15, and its face biometrics capabilities. The novel Visual ID biometrics feature enables

17   Alexa devices to show users personalized recommendations, calendars, to-do lists, and more when

18   their faces enter the camera’s field of vision.

19

20

21

22   5
       Mascellino, Alessandro. “Amazon Unveils Series of Face and Voice Biometrics Updates.”
     Biometric         Update,       BiometricUpdate.com,         30         Sept.        2021,
23
     https://www.biometricupdate.com/202109/amazon-unveils-series-of-face-and-voice-biometrics-
24   updates. Accessed 1 Apr. 2022.



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1            F.     Amazon Employs Anti-Competitive Business Practices Designed to
                    Maintain Its Dominance as Both an Online Marketplace and Retailer
2

3            79.    As a multi-seller online marketplace, Amazon competes with other multi-seller
4    online marketplaces, like eBay, to sell hosting and other services to TPSs that want to sell their
5    products online to consumers. Amazon also competes with both multi-seller and single-seller
6    online marketplaces (for example, a TPS’s own website on which it sells its products online to
7    consumers) to attract consumer traffic to its marketplace and sales therefrom.
8            80.    Amazon competes not just as an online marketplace, but also with respect to
9    products that it sells directly to consumers through its online marketplace. Thus, Amazon is both
10   the gatekeeper to its dominant online marketplace, and it is also a significant competitor for sales
11   of many products sold by the TPSs using Amazon’s online marketplace.
12           81.    In its capacity as a retailer, Amazon sells goods that it buys from manufacturers and
13   wholesalers that Amazon refers to as First Party Sellers (“FPSs”).
14           82.    Given the dominance of Amazon’s online marketplace wherein it hosts millions of
15   TPSs, in order for many TPSs to successfully sell online, they must have a presence on Amazon. 6
16           83.    Amazon’s online marketplace dominance is protected by substantial barriers to
17

18

19   6
       Online marketplaces are separate and distinct from brick-and-mortar or physical marketplaces.
20   The Federal Trace Commission and U.S. House of Representatives’ Subcommittee on Antitrust,
     Commercial, and Administrative Law of the Committee on the Judiciary recognize this fact;
21   likewise, consumers do not consider online and physical markets to be substitutes for one another.
     Consumers using online marketplaces can shop for a virtually unlimited range of products without
22   limitation based on geographic area, time of day or day of the week, and can more easily compare
     competing offers on similar goods. Sellers similarly recognize the superiority of online
23
     marketplaces to physical ones for these same reasons, among others. Thus, online and physical
24   marketplaces are not close substitutes for one another.



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1    entry, 7 as well as its anti-competitive business practices. These include Amazon’s (i) former Price

2    Parity Provision; (ii) current Fair Pricing Policy; and (iii) new Minimum Margin Agreement.

3                           a.     Price Parity Provision

4            84.    In order to sell their products through Amazon’s online marketplace, TPSs execute

5    Amazon’s Business Solutions Agreement (“BSA”). Until at least 2019 in the United States, TPSs

6    agreed through the BSA that they would not offer their products through other online marketplaces,

7    including their own websites, at a lower price or on better terms than those TPSs offered through

8    Amazon’s marketplace (the “Price Parity Provision” or “PPP” of the BSA). Specifically, through

9    the PPP, TPSs agreed that the “purchase price and every other term of sale [would] be at least as

10   favorable to Amazon Site users as the most favorable terms via Your Sales Channels.”

11           85.    Through the PPP, Amazon insulated its dominance by forcing TPSs to charge the

12   same prices on other online marketplaces, which reduced the ability of those other online

13   marketplaces to gain consumer traffic and sales by offering TPSs lower fees and commissions so

14   that the TPSs could in turn charge lower prices to consumers and still maintain their same profits

15   on those marketplaces. This provision artificially raised the price of goods to consumers across

16   online marketplaces because TPSs were forced to incorporate Amazon’s high fees and

17   commissions into their product prices not only when selling through Amazon’s marketplace, but

18   also when selling through any competing online marketplaces. These price restrictions resulted in

19

20   7
       For example, digital markets tend to be characterized by strong network effects, making them
21   prone to monopolization, which are reinforced by Amazon’s Prime program (which has enabled
     Amazon to build a massive customer base—126 million Prime members in the U.S. alone), the
22   massive amounts of data Amazon collects regarding its buyers and sellers (e.g., pricing and
     revenue data, customer reviews, and data regarding items viewed by customers), and Amazon’s
23
     use of its delivery and logistics services to further solidify its online marketplace dominance—
24   85% of the top 10,000 TPSs use Amazon’s FBA logistics and delivery services.



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1    less competition and innovation, and higher prices and less choices for consumers.

2           86.     The PPP also protected Amazon from competition as a retailer in individual product

3    markets. Amazon and TPSs compete to sell certain products directly to consumers, and the PPP

4    ensured that the high commissions and fees that Amazon charged to TPSs were incorporated in

5    the price everywhere that the TPS offered its products online, thereby reducing the price

6    competition on Amazon’s own retail offerings that competed with a TPS’s given product.

7                          b.      Fair Pricing Policy

8           87.     In 2019, under scrutiny from Congress and U.S. government regulators, Amazon

9    removed the PPP from the BSA, but it quickly replaced the PPP with a virtually identical provision,

10   the Fair Pricing Policy (“FPP”).

11          88.     Specifically, in December 2018, U.S. Senator Richard Blumenthal of Connecticut

12   wrote the U.S. DOJ and the Federal Trade Commission to express his concerns about Amazon’s

13   use of the PPP, stating, in part, that “Amazon’s price parity provisions may raise prices for

14   consumers both in the short term and in the long run.” He concluded that regulators could “easily

15   establish that Amazon has the high market share typically necessary to bring successful litigation

16   under Section 2 [of the Sherman Act].” Months later, in March 2019, Amazon removed the PPP

17   from the BSA and replaced it with the FPP.

18          89.     Now, TPSs agree through the BSA to abide by Amazon’s FPP, which permits

19   Amazon to impose sanctions on a TPS that offers a product for a lower price or on better terms

20   through a competing online marketplace. These sanctions can include cancellation of listings,

21   suspension or forfeiture of payments, and even banishment of the TPS from Amazon’s online

22   marketplace, which in many cases, would have devastating economic consequences for the TPS.

23          90.     Specifically, the FPP provides:

24



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1           Amazon regularly monitors the prices of items on our marketplaces, including
            shipping costs, and compares them with other prices available to our customers. If
2           we see pricing practices on a marketplace offer that harms customer trust, Amazon
            can remove the Buy Box, remove the offer, suspend the ship option, or, in serious
3           or repeated cases, suspend[] or terminat[e] selling privileges.
4
            Pricing practices that harm customer trust include, but are not limited to: . . . setting
5           a price on a produce or service [on Amazon’s platform] that is significantly higher
            than recent prices offered on or off Amazon.
6

7           91.     Amazon strictly enforces these policies using an extensive network of electronic

8    surveillance and employees to monitor the prices of TPSs’s products offered through other online

9    marketplaces. When Amazon discovers a TPS offering the same or similar products through a

10   competitor online marketplace at a lower price, it sends the TPSs pricing alert warning the TPS

11   that its product is no longer eligible for the “Buy Box,” the featured offer on any product page.

12   TPSs regularly receive these alerts. Given the importance of the Buy Box feature, this punishment

13   can be devastating for TPSs.

14          92.     Amazon also punishes TPSs for failing to comply with these policies by freezing

15   TPSs’ inventory, placing holds on accounts and payments from Amazon online marketplace sales,

16   and suspending or revoking TPSs’s accounts entirely. TPSs regularly increase their prices on other

17   online marketplaces in order to avoid Amazon’s sanctions.

18          93.     Amazon further punishes a TPS if a different seller obtains and sells the TPS’s

19   products for less on a competing online marketplace, thereby further controlling pricing by

20   incentivizing TPSs to monitor whether its products are being sold by other sellers for less than the

21   price offered on Amazon. This is the case even for products that are “similar,” even though these

22   purportedly similar products are often distinguishable in quality or function.

23          94.     These policies insulate Amazon from competition as a retailer as well. Amazon

24   directly competes with over half of its TPSs selling similar substitutable products to online



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1    customers. These fees, however, ensure that TPS products are offered at artificially high prices—

2    not only on Amazon, but all other online marketplaces that compete with amazon, including the

3    TPS’s own website.         This, of course, reduces a TPS’s ability to compete with Amazon’s

4    substitutable products.

5                           c.       Additional Fees Imposed on TPSs

6           95.     Subject to execution of the BSA and agreement to the PPP/FPP, a TPS may begin

7    selling on Amazon, but to do so, it must pay Amazon certain fees and commissions.

8           96.     Specifically, TPSs can either fulfill their own orders or they can select “Fulfillment

9    by Amazon,” or FBA. When a TPS sells FBA, Amazon charges additional fees to handle

10   inventory, shipping, collection of payments, processing returns, and crediting the TPS’s account.

11   Many TPSs pay Amazon a 40% sales commission by virtue of these and other fees.

12          97.     TPSs are forced to sell FBA and pay these fees because it is the primary means by

13   which a TPS’s products become eligible for the “Buy Box” and thus obtain profitable sales levels.

14   When Amazon and one or more TPSs offer the same or similar products on Amazon, Amazon

15   combines all offers onto one product page with one product being awarded the “Featured Offer”

16   or “Buy Box.” This product is the most visible to consumers on the product detail page and the is

17   the easiest to purchase.

18          98.     The Buy Box is critical for TPSs. 82% of all TPSs’ sales through Amazon occur

19   through the Buy Box, and the percentage is higher for mobile purchases. Many consumers will

20   not even see a TPS’s product unless it appears in the Buy Box, placing those TPSs without the

21   Buy Box at a significant disadvantage. The Buy Box does not signify the best product or the

22   highest rated by consumers; rather, Amazon determines the winner for the Buy Box based on

23   factors that reinforce Amazon’s dominance in the online marketplace.

24          99.     According to a ProPublica investigation, roughly 75% of the time, Amazon



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1    awarded the Buy Box to its own products and to companies that pay for its auxiliary online

2    marketplace services even in cases where substantially more affordable product offerings from

3    other TPSs were available.

4           100.    Competitor online marketplaces charge TPSs much lower fees and commissions.

5    For example, Walmart.com’s Fulfillment Services program charges a fixed monthly storage fee

6    and fulfillment/delivery fees that are substantially less than Amazon’s fees. Likewise, eBay

7    generally offers at least 50 free product listings before charging a $0.35 product listing fees, such

8    that its fees, too, are generally well below Amazon’s.

9           101.    These fees generate significant revenues for Amazon.           From 2014 to 2020,

10   Amazon’s revenue from TPS fees and charges ballooned from $11.75 billion to over $80 billion.

11   Amazon’s TPS service revenues were recently valued at more than $250 billion and now account

12   for 21% of Amazon’s total corporate revenue. Notably, Amazon’s profit margins on TPS fees are

13   four times higher than its margins on its own retail sales.

14                          d.      Minimum Margin Agreement

15          102.    Amazon employs a different anti-competitive agreement with its FPSs to insulate

16   itself from competition from other online marketplaces. FPSs sell their products to Amazon for

17   Amazon to sell, either as its own brand or otherwise, as a retailer through its online marketplace.

18   In the sales agreements, FPSs and amazon agree that the FPS guarantees Amazon a certain

19   minimum profit when Amazon sells the products its purchased from the FPS on Amazon’s online

20   marketplace (“Minimum Margin Agreement” or “MMA”).

21          103.    If Amazon ultimately sells the product for a price that results in Amazon achieving

22   less than the agreed minimum profit, the FPS must compensate Amazon for the difference. This

23   agreement can at times result in the FPS incurring millions of dollars in “true up” costs to Amazon.

24   As a result, FPSs are incentivized to maintain higher prices on other online marketplaces to ensure



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1    that Amazon does not drop its price based on lower prices elsewhere, thereby triggering the FPS’s

2    true-up requirements. Indeed, FPSs have raised their prices to competing online marketplaces to

3    prompt the maintenance of higher prices on those marketplaces and even asked those marketplaces

4    to raise prices to online consumers to avoid triggering Amazon’s MMA provision. These

5    agreements reduce other online marketplaces’ ability to compete with Amazon by offering lower

6    prices to consumers. Thus, the MMA results in reduced competition among online marketplaces

7    and higher prices to consumers.

8            104.   Amazon’s PPP, FPP, and MMA insulate Amazon from competition as both an

9    online marketplace and a retailer. These agreements also cause prices on Amazon’s and other

10   online marketplaces to be artificially inflated, enable Amazon to charger higher fees and

11   commissions to TPSs, reduce profits to TPSs and FPSs, and suppress innovation and reduce

12   investment in competitor online marketplaces.

13           G.     The Individual Defendants Made or Allowed Materially False and
                    Misleading Statements to the Investing Public
14

15                          a.      Privacy Statements

16           105.   The Individual Defendants have known for years of the significant risks to the

17   Company related to laws regarding privacy and disclosed such risks to investors. And at least as

18   early as 2019, the Individual Defendants knew that Amazon was actively engaged in activities that

19   were potentially illegal in nature.

20           106.   For example, on January 31, 2020, Amazon filed an Annual Report for fiscal year

21   2019 on Form 10-K with the SEC, reporting the Company’s financial and operating results (the

22   “2019 10-K”). 8 In the 2019 10-K, Amazon disclosed that it was using facial recognition software

23

24   8
         The 2019 10-K was signed by Defendants Bezos, Olsavsky, Reynolds Alberg, Gorelick,


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1    in its Rekognition database. The Company disclosed that it knew that there were ambiguities or

2    uncertainties in how existing laws should apply to facial recognition technology. 2019 10-K at

3    p. 12.

4             107.   While Amazon’s official position appears to cloud the possible illegality of its

5    actions, multiple shareholders expressly commented in April and May of 2019 that these actions

6    violated BIPA and potentially violated customers’ and human rights. 9 Specifically, shareholders

7    promoting a proposal observed there is insufficient board oversight related to Rekognition:

8             [We] are concerned that the Amazon board is not equipped to adequately identify
              and assess the risks posed by Rekognition. The directors overall lack expertise that
9             would give them the background or tools to assess the human rights impacts of
              machine learning, artificial intelligence, and the primary technologies behind a
10            product like Rekognition. One possible exception is director Daniel Huttenlocher,
11
              who holds a Ph.D in Computer Science from MIT and hails an interest in “emerging
              technologies.” The board also lacks any governance committee tasked with
12            overseeing these risks. This is another reason why sales should be stopped until an
              independent group of experts has the ability to assess the risks and advise the board
13            on whether or how it could proceed with sales of Rekognition to governments. 10
14            108.   Additionally, according to shareholders, Amazon’s Board ignored shareholder

15   concerns about the sale of biometrics and facial recognition software to law enforcement:

16            On June 15th, 2018, the lead proponent of this resolution was also the lead signatory
              on an initial letter by 19 financial services firms holding Amazon stock, including
17            wealth management companies and registered investment advisors, raising strong
              objections to the introduction of the Company’s facial recognition technology. Not
18            only did Amazon not reply to the initial communication, there was no
19

20   Huttenlocher, McGrath, Rubinstein, Ryder, Stonesifer, and Weeks.
     9
21    See Rule 14a-103 Notice of Exempt Solicitation, Shareholder Rebuttal to Amazon.com, Inc., at
     p. 7 (Form PX14A6G) (May 1, 2019); see also Rule 14a-103 Notice of Exempt Solicitation,
22   Shareholder Rebuttal to Amazon.com, Inc., at p. 6 (Form PX14A6G) (April 25, 2019).
23   10
       See Rule 14a-103 Notice of Exempt Solicitation, Shareholder Rebuttal to Amazon.com, Inc., at
     p. 9 (Form PX14A6G) (May 1, 2019); see also Rule 14a-103 Notice of Exempt Solicitation,
24
     Shareholder Rebuttal to Amazon.com, Inc., at p. 9 (Form PX14A6G) (April 25, 2019).


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1           acknowledgment of receipt of the communication. Such initial issues raised
            specifically included “substantial risks for our Company negatively impacting our
2           Company’s stock valuation and increasing financial risk for shareholders.” The
            June 15th, 2018 letter also stated: “...we have seen no evidence of our Board of
3           Directors conducting fiduciary oversight on how Rekognition may or may not,
4
            should or should not, be deployed. The recent experience and scrutiny of Facebook
            demonstrated the degree to which these new issues may undermine company value
5           as the detrimental impacts on society become clear. While Rekognition may be
            intended to enhance some law enforcement activity, we are deeply concerned it
6           may ultimately violate civil and human rights.” 11
7           109.    The SEC added that “a number of other [Amazon] products – Alexa, Ring, and

8    [Wi-Fi systems called] Eero – will face a spillover effect if Amazon’s status as a trusted company

9    is breached…” 12

10          110.    In Amazon’s Annual Report for fiscal year 2020 filed on Form 10-K with the SEC

11   on February 3, 2021 (“2020 10-K”), the Company again expressly disclosed its knowledge of laws

12   and regulations covering “privacy, data protection, data security, network security, consumer

13   protection” as well as a number of others. 2020 10-K at pp. 13, 59. 13 These laws include biometric

14   information regulation.

15          111.    Similar disclosures appear in Amazon’s Annual Report for fiscal year 2021 filed

16   on Form 10-K with the SEC on February 4, 2022 (“2021 10-K”). 2021 10-K at pp. 13-14, 59. 14

17

18   11
        Rule 14a-103 Notice of Exempt Solicitation, Shareholder Rebuttal to Amazon.com, Inc., at p.
19   4 (Form PX14A6G) (May 1, 2019).
     12
20         See Amazon.com, Inc., SEC Division of Corporation Finance Letter,
     https://www.sec.gov/divisions/corpfin/cf-noaction/14a-8/2019/johnharringtonetal032819-
21   14a8.pdf, at p. 6 (March 28, 2019).
22   13
       The 2020 10-K is signed by Defendants Bezos, Olsavsky, Reynolds, Alexander, Brewer,
     Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Ryder, Stonesifer, and Weeks.
23
     14
      The 2021 10-K is signed by Defendants Jassy, Olsavsky, Reynolds, Bezos, Alexander, Cooper,
24
     Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Stonesifer, and Weeks.


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1           112.      The Company’s Annual Reports additionally fail to properly report on and obscure

2    the magnitude of the Company’s exposure in the Consumer Class Actions and mislead investors

3    as to the astronomical financial, operational, legal, regulatory and enforcement risks of violating

4    BIPA and of the actions already pending against the Company.

5           113.      Despite detailing numerous other specific legal matters, including specific cases

6    involving patents, labor issues and Fair Credit Reporting (and the financial and operational risks

7    attendant to those matters), Amazon’s 10Ks for 2019, 2020, and 2021 universally fail to apprise

8    shareholders of the Consumer Class Actions, the mounting per violation statutory fines and the

9    potentially devasting effects to the Company posed by its violations of BIPA and these pending

10   class actions.

11          114.      Moreover, the Board’s responses to shareholder concerns reveals a lack of

12   safeguards, a failure to oversee legal compliance issues, conscious disregard of the law, and a

13   conscious choice to turn a blind eye to Amazon’s conduct and the Board’s oversight

14   responsibilities. When dismissing various shareholder concerns about facial recognition software,

15   the Board stated: “In internal accuracy tests of Amazon Rekognition’s facial recognition features,

16   [Amazon Web Services] evaluated photos from a publicly available dataset of 1 million face

17   images and found zero false positive matches at a 99% confidence level…” 15 The Board carelessly

18   referenced this testing and use of “1 million face images” to promote and excuse its actions. Rather

19   than vindicate the actions of the Company and provide value to the Company, that conduct led to

20   a class action lawsuit for violations of BIPA and exposed the Company to significant liability. The

21   aforementioned “publicly available dataset” with the biometric data of 1 million people contained

22   the biometric data of Illinois residents without their consent. In 2020, Illinois residents brought a

23
     15
       See Schedule 14A - Proxy Statement Pursuant to Section 14(a) of the Securities Exchange Act
24
     of 1934, filed on April 11, 2019, at pp. 20, 23.


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1    class action against Amazon for precisely the misconduct the Board reviewed and celebrated. See

2    Stephen Vance et al. v. Amazon.com, Inc., No. 2:20-cv-01084 (W.D. Wash. July 14, 2020). These

3    statements were approved by the Board at the time, which included Defendants Bezos, Alberg,

4    Brewer, Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Ryder, Stonesifer, and Weeks.

5             115.   The Company unsuccessfully attempted to suppress and omit from its 2019 proxy

6    statement filed on Schedule 14a with the SEC on April 11, 2019 (“2019 Proxy Statement”) the

7    shareholder concerns raised in two shareholder proposals referenced above. The SEC found

8    Amazon’s “facial recognition software is a high visibility offering of an estimated $23 billion

9    revenue segment of the Company, Amazon Web Services.” 16 AWS has since grown even more

10   lucrative for the Company, with the Company reporting the segment had $62 billion in revenue

11   and $18 billion in operating income in 2021.

12            116.   As with Amazon’s 2019 Proxy Statement, the Board’s statements in its 2020 proxy

13   statement filed on Schedule 14a with the SEC on April 16, 2020 (“2020 Proxy Statement”) dismiss

14   shareholder concerns about the risks and privacy implications of Amazon’s facial recognition

15   software. These statements were approved by the Board at the time, which included Defendants

16   Bezos, Brewer, Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Ryder, Stonesifer, and

17   Weeks.

18            117.   Again, in Amazon’s 2022 proxy statement filed on Schedule 14a with the SEC on

19   April 14, 2022 (“2022 Proxy Statement”), the current Board dismissed continued shareholder

20   concerns about risks the Company faces from its violations of consumer privacy. The Board

21   responded to shareholder concerns by attempting to reassure shareholders that: “Our Board has

22
     16
           See Amazon.com, Inc., SEC Division of Corporation Finance Letter,
23
     https://www.sec.gov/divisions/corpfin/cf-noaction/14a-8/2019/johnharringtonetal032819-
24   14a8.pdf, at p. 6 (March 28, 2019).



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1    reviewed Amazon Rekognition, along with other programs, as part of numerous AWS business

2    reviews.” 2022 Proxy Statement at p. 86. The Board thus disregarded the shareholder concerns

3    that Amazon is exposed to financial, reputational, regulatory, legal, and human capital

4    management risk due to its sales of Rekognition.

5           118.    Despite the Individual Defendants’ understanding that the Company’s actions

6    violated BIPA and were illegal, the Individual Defendants permitted the Company to make false

7    statements about its compliance with applicable laws and regulations. Moreover, no action was

8    taken to prevent the Company from violating BIPA and similar statute statutes in other states and

9    improperly exposing the Company to the significant legal exposure it now faces. Additionally,

10   the Individual Defendants’ actions also violate Amazon’s internal corporate policies.

11                          b.     Amazon Becomes the Subject of a
                                   Multitude of Class Action Lawsuits for Its
12
                                   Non-Compliance with BIPA and Other State Privacy
13                                 Statutes, Which Have Significantly Harmed the Company

14          119.    In direct violation of Illinois’ BIPA statute, Amazon stored and continues to store

15   its employees, its users,’ and its clients’ users’ biometric information without informing them of

16   these practices and without securing the users’ written consent. Amazon also violates BIPA by

17   failing to develop a written policy, available to the public, establishing a retention schedule and

18   guidelines for users to permanently destroy biometric identifiers when the initial purpose for

19   collection was satisfied.

20          120.    These violations have exposed Amazon to substantial harm resulting to date in at

21   least fourteen separate class action lawsuits for violation of BIPA, a sample of which are set forth

22   below. In connection with these class action lawsuits, Amazon has already expended significant

23   monetary resources and risks astronomical liability when the actions are resolved.

24          121.    On June 26, 2019, a state consumer class action lawsuit was filed on behalf of



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1    Amazon users in the Circuit Court of Cook County Illinois (the “Wilcosky Class Action”). The

2    Wilcosky Class Action, which includes a subclass for individuals who do not have Alexa accounts

3    (“bystanders”) and a subclass for minors, asserted causes of action under section 14/15(b) and (a)

4    of Chapter 740 of the Illinois Compiled Statutes.          Specifically, the plaintiffs asserted that

5    Amazon’s Alexa and Echo devices capture, collect and retain voiceprints of any and all people

6    who speak near Alexa devices, regardless of age or affiliation with Amazon. And in an effort to

7    improve the voice and speech recognition technology, Amazon then retains every voice recording

8    created by the user and any individual who happens to be speaking near the Alexa device.

9    Plaintiffs there assert that Amazon never informed them, by written notice or otherwise, that

10   Amazon collected, stored, and used their biometric identifiers and information, or of the specific

11   purpose and length of term for which their biometric identifiers were being collected, stored, and

12   that Amazon does not publicly provide a retention schedule or guidelines for permanently

13   destroying their biometric data. Plaintiffs seek damages in the amount of $1,000 for negligent and

14   $5,000 for intentional violation of BIPA, per violation. Amazon removed the action to federal

15   district court for the Northern District of Illinois on July 26, 2019.

16          122.    On October 8, 2019, a putative Class Action Complaint was filed alleging that AWS

17   unlawfully obtained and stored class members’ biometrics information and identifiers in violation

18   of BIPA (the “Hryniewicki Class Action”). The Hryniewicki Class Action asserted causes of

19   action under section 14/15(a)–(b) of Chapter 740 of the Illinois Compiled Statutes. Specifically,

20   the plaintiffs asserted that Amazon offers cloud storage for businesses that handle biometric

21   identifiers and biometric information and that BIPA regulates both the conduct of the entities that

22   capture biometric data and companies that store data and information derived from those biometric

23   identifiers. AWS failed to implement a publicly available biometric data retention and destruction

24   policy as required by Section 15(a) of BIPA. They also assert that Amazon never informed them,



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1    by written notice or otherwise, of the specific purpose and length of term for which their biometric

2    identifiers were being collected, stored, and used and never obtained written consent for the same,

3    all in violation of Section 15(b) of BIPA. Plaintiffs seek damages in the amount of $1,000 for

4    negligent and $5,000 for intentional violation of BIPA, per violation. Amazon removed the action

5    to federal district court for the Northern District of Illinois on November 15, 2019.

6           123.    On November 15, 2019, a state consumer class action lawsuit was filed in the

7    Circuit Court of Cook County, Chancery Division on behalf of plaintiffs whose biometric data is

8    stored by Amazon (the “Ragsdale Class Action”). The Ragsdale Class Action asserted causes of

9    action under section 14/15(a) and (b) of Chapter 740 of the Illinois Compiled Statutes.

10   Specifically, the plaintiffs asserted that as a leading cloud provider in the United States, AWS

11   offers cloud storage services for businesses that handle biometric identifiers and biometric

12   information, including employers that collect biometric information on their employees. Plaintiffs

13   assert that despite possessing plaintiffs’ biometric data, AWS failed to implement a publicly

14   available biometric data retention and destruction policy as required by Section 15(a) of BIPA.

15   They also assert that Amazon never informed them, by written notice or otherwise, of the specific

16   purpose and length of term for which their biometric identifiers were being collected, stored, and

17   used and never obtained written consent for the same, in violation of Section 15(b) of BIPA. On

18   January 24, 2020, AWS removed the action to the federal District Court for the Northern District

19   of Illinois, expressly pleading for purposes of removal that the amount in controversy exceeds the

20   jurisdictional minimum of $5,000,000 and calculating damages as high as $10,000,000.

21          124.    On October 16, 2020, a federal consumer class action lawsuit was filed against

22   Amazon Web Services Inc. and Pindrop Security Inc. on behalf of Illinois citizens who used

23   Amazon Connect and Pindrop’s voice authentication and/or fraud detection technology during the

24   specified class period (the “McGovern Class Action”). The McGovern Class Action asserted



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1    causes of action under section 14/15(a)–(e) of Chapter 740 of the Illinois Compiled Statutes.

2    Specifically, the plaintiffs asserted that Amazon collected, captured, obtained, possessed and

3    disseminated the biometric voice identifiers of plaintiffs for profit and without their consent in

4    violation of BIPA. Plaintiffs further assert that Amazon failed to use reasonable standards of care

5    in storing and protecting Plaintiffs’ biometric information and biometric identifiers in violation of

6    BIPA. Plaintiffs seek damages in the amount of $1,000 for negligent and $5,000 for intentional

7    violation of BIPA, per violation.

8           125.    On September 28, 2020, a state employee class action lawsuit was filed on behalf

9    of Amazon employees in the Circuit Court of Cook County, Illinois County Department, Chancery

10   Division (the "Jerinic Class Action"). The Jerinic Class Action asserted causes of action against

11   Amazon.com Inc. and Amazon.com LLC under section 14/15(a), (b) and (d) of Chapter 740 of the

12   Illinois Compiled Statutes. Specifically, the plaintiffs asserted that, as employees, plaintiffs were

13   required to have facial geometry scanned by a facial recognition camera and to have their

14   temperatures taken before entering work and that this information is scanned, tracked, uploaded

15   and stored in violation of BIPA. Plaintiff employees seek damages in the amount of $1,000 for

16   negligent and $5,000 for intentional violation of BIPA, per violation. Amazon removed the action

17   to federal district court for the Northern District of Illinois on October 30, 2020.

18          126.    On June 11, 2021, Plaintiffs Angela Hogan (“Hogan”) and B.H., a minor, brought

19   a putative class action against Amazon.com, Inc. (the “Hogan Class Action”) in the Circuit County

20   of Cook Illinois, which action was removed to the U.S. District Court for the Northern District of

21   Illinois. A First Amended Complaint was filed in federal court on July 21, 2021. The Hogan Class

22   Action asserted claims for violation of Section 15 (a)–(c) of BIPA and for unjust enrichment.

23   Specifically, the plaintiffs asserted that the biometric identifiers—scans of facial geometry—of

24   untold millions of people were obtained, stored, and analyzed by Amazon’s Rekognition from the



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1    billions of images uploaded to Amazon Photos daily in violation of BIPA. Plaintiffs seek damages

2    in the amount of $1,000 for negligent and $5,000 for intentional violation of BIPA, per violation.

3    On March 30, 2022, the court denied Amazon's Motion to Dismiss as to the BIPA claims.

4            127.    These and numerous additional class action lawsuits known to the Board for many

5    years have placed the Company and the Board on notice of mounting and potential catastrophic

6    harm to the Company and its shareholders. Notably, BIPA provides that an aggrieved party can

7    obtain damages on a “per violation”—not a “per person”—basis. Thus, the potential damages

8    recoverable against Amazon are astronomical to the point that Company could be put out of

9    business if the violations are not immediately addressed, stopped, and remedied.

10           128.    On top of these Consumer Class Actions, Amazon has faced over 75,000 individual

11   arbitration demands for privacy violations by devices deploying Alexa, forcing Amazon to foot

12   the bill for tens of millions of dollars in case initiation fees due under its own arbitration policy,

13   not to mention Amazon’s own attorneys’ fees as well as damages and attorneys’ fees in any

14   arbitration awards. 17

15           129.    The expense and burden of these cases, as well as additional cases, on the Company

16   is substantial. In addition to direct harms from liability suits, the Individual Defendants’ conduct

17   also jeopardizes and harms one of Amazon’s most important (and fragile) assets: consumer trust.

18   Reputational damage is particularly devastating for technology companies like Amazon.

19                            c.    Anticompetitive Business Practices Statements

20           130.    On February 1, 2019, Amazon filed an Annual Report on Form 10-K with the SEC,

21

22   17
        See Michael Corkery, Amazon Ends Use of Arbitration for Customer Disputes, N.Y. Times,
     (July 22, 2021), https://www.nytimes.com/2021/07/22/business/amazon-arbitration-customer-
23
     disputes.html (reporting that each arbitration demand cost Amazon about $2,900 at the outset –
24   which would equal $217 million for 75,000 arbitration demands).



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1    reporting the Company’s financial and operating results for the year ended December 31, 2018

2    (the “2018 10-K”). 18 In the 2018 10-K, Amazon failed to disclose that it was engaged in

3    anticompetitive conduct with respect to its private-label business. Rather, the 2018 10-K contained

4    only a generic, highly general risk disclaimer to the effect that Amazon was “subject to general

5    business regulations and laws, as well as regulations and laws specifically governing the Internet[]

6    [and] e-commerce” and that these laws covered competition, among other things. Amazon merely

7    advised its investors that “[e]xisting and future laws and regulations may impede our growth” and

8    failed to disclose the specific and known risks arising from the Company’s anticompetitive

9    business practices.

10          131.    In the 2018 10-K, Amazon reported net sales of $232.89 billion for the year.

11   Amazon failed to disclose, however, that these sales figures were unsustainable to the extent that

12   they were derived from impermissible anticompetitive conduct.

13          132.    Appended to the 2018 10-K as exhibits were signed Certifications pursuant to

14   Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Bezos and Olsavsky, attesting that “the [2018

15   10-K] fully complies with the requirements of Section 13(a) or 15(d) of the Securities Exchange

16   Act of 1934” and that “[t]he information contained in the [2018 10-K] fairly presents, in all

17   material respects, the financial condition and results of operations of the Company.”

18          133.    On April 25, 2019, Amazon hosted an earnings call with investors and analysts to

19   discuss the Company’s Q1 2019 results (the “Q1 2019 Earnings Call”). When asked to comment

20   on Amazon’s efforts to sustain its growth rate in the third-party marketplace business, Defendant

21   Olsavsky responded, in relevant part:

22

23   18
       The 2018 10-K was signed by Defendants Bezos, Olsavsky, Reynolds, Alberg, Gorelick,
24   Huttenlocher, McGrath, Rubinstein, Ryder, Stonesifer, and Weeks.



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1           So again, let me reiterate our approach. So main goal here is that it will allow
            customers to have the broadest selection, the best available price and also the most
2           convenient options on how they receive the item. If we're delivering on those three
            elements, we're indifferent as to whether it's sold by us or a third-party. We actively
3           recruit sellers to sell on our platform, it's because it adds selection. It adds - if it's
4
            in the FBA program, it adds Prime eligible selection.

5           We spend billions of dollars a year, as Jeff said, on infrastructure, tools and
            services, not only to allow sellers to sell, but to help themselves more successfully.
6           So we have a vested interest in the success of our sellers. Any growth acceleration
            or deceleration that you see can be very much tied to the total sales of the customer
7           - that we have the customers in any country.
8           So you'll still see the percentage of third-party units increased and has been steadily
9           over the last few years. So again, the sellers are as important to us as anything for
            servicing the customers' need for price selection and convenience.
10

11          134.    On or around June 3, 2019, the House Judiciary Committee initiated a bipartisan

12   investigation into the state of competition online. The Subcommittee’s investigation examined the

13   business practices and market dominance of Facebook, Google, Apple, and Amazon.

14          135.    In the course of the Subcommittee’s investigation, the Subcommittee held several

15   oversight hearings in which various officers of the above referenced companies, including their

16   respective CEOs, offered witness testimony on topics such as the effect of market power on the

17   press, innovation, and privacy, and the market dominance of the firms under investigation. After

18   each of the hearings, members of the Subcommittee submitted questions for the record to the

19   witnesses.

20          136.    On July 16, 2019, Defendant Sutton testified before the House Judiciary Committee

21   alongside executives from Google, Facebook, and Apple (the “July 16, 2019 Hearing”). When

22   asked by Representative Pramila Jayapal whether Amazon “track[s] [the data] and create[s]

23   products that directly compete with those most popular brands that are out there,” Defendant

24   Sutton responded, in relevant part, that “data on popularity of products like much retail data is



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1    actually public data,” but “[Amazon] do[es] not use any of that specific seller data in creating our

2    own private brand products.”

3           137.    At the same hearing, when asked by Subcommittee Chairman David N. Cicilline

4    whether Amazon’s algorithm for collecting data is used to support the sale of Amazon branded

5    products, Defendant Sutton responded, in relevant part, “[o]ur algorithms, such as the buy box, is

6    [sic] aimed to predict what customers want to buy [. . .] [a]nd we apply the same criteria whether

7    you’re a third-party seller or Amazon to that because we want customers to make the right purchase

8    regardless of whether it’s a seller or Amazon.”

9           138.    As the Subcommittee Investigation proceeded, various reputable media outlets

10   published reports that seemingly contradicted the testimony offered by Amazon’s witnesses at the

11   Subcommittee hearings. For example, on July 18, 2019, the investigative news organization

12   Capitol Forum published an article entitled, “Amazon: Former Employee Challenges Executive’s

13   Denial About Company’s Use of Independent Sellers’ Data.” 19 The former Amazon employee

14   stated that Amazon “routinely tracked the popularity of independent sellers’ products sold through

15   its website,” and that “[the former employee] used to pull sellers’ data to look at what the best

16   products were [. . . .]” Accordingly, Capitol Forum’s reporting appeared to directly contradict

17   Defendant Sutton’s testimony.

18          139.    On July 23, 2019, in response to the publication of the Capitol Forum article and

19   similar reporting by other media outlets, Chairman Cicilline sent Amazon a letter requesting that

20   the Company supplement Defendant Sutton’s responses to questions at the July 16, 2019 Hearing

21   because “[i]n several instances, Mr. Sutton responded to questions from [the Subcommittee] by

22

23   19
        Amazon: Former Employee Challenges Executive’s Denial About Company’s Use of
24   Independent Sellers’ Data, The Capitol Forum (July 18, 2019).



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1    offering other ancillary information or partial and selective responses.” Moreover, Chairman

2    Cicilline’s letter stated that “[i]n one instance, [Defendant Sutton’s] answer has been contested by

3    a former Amazon employee, raising questions about the veracity of his responses under oath.”

4           140.    On July 25, 2019, Amazon hosted an earnings call with investors and analysts to

5    discuss the Company’s Q2 2019 results (the “Q2 2019 Earnings Call”). When questioned whether

6    there would be any change in Amazon’s business to focus “more towards third-party from first-

7    party,” Defendant Olsavsky stated, in relevant part:

8           On your comment, I assume you meant vendors not merchants, but on the move
            from 1P to 3P, but no there shouldn't be -- I can't highlight anything related shifting
9           in channel there, but I would say that we remain in different on whether -- we're
            focused on price convenience and selection for our customers. And whether
10          product is a retail offering or third-party offering is not that important to us. As
11
            long as it's in stock, as long as it's priced competitively.

12          So, as you know our 3P selection has -- our 3P percent of units has been increasing
            over time and increased again in this quarter to 54% of units. We continue to invest
13          very heavily in our systems both for retail vendors and also for third-party
            merchants invest billions of dollars a year on behalf of then making Amazon a
14          better place for customers to buy and increasingly not only vendor sales, but also
            third-party merchant sales.
15

16          141.    On July 26, 2019, Defendant Zapolsky sent a letter 20 in response to Chairman

17   Cicilline’s July 23, 2019 letter, which stated, in relevant part:

18          [. . .] while we prohibit in our private label strategy the use of data related
            specifically to individual sellers, like other retailers we use aggregated store data
19          (e.g., total sales) and customer shopping behavior (e.g., search volume) to identify
            categories and products with high customer demand over a given time period. Use
20          of aggregated store data about customers’ shopping behavior is far from novel
            among retailers with a private label business. Many retailers, including large
21
            retailers with extensive private brand offerings and retailers with marketplaces,
22
     20
         Zapolsky, David. Letter to David N. Cicilline. July 26, 2019.               Retrieved from
23
     https://judiciary.house.gov/sites/democrats.judiciary.house.gov/files/documents/07.26.19%20-
24   %20amazon%20response.pdf.



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1           know the sales volume for products in their stores.[] Customers’ shopping behavior
            in our store is just one of many inputs to Amazon’s private label strategy. We also
2           use other factors employed across the retail industry, such as fashion and shopping
            trends highlighted in the press and on social media, suggestions from our
3           manufacturers for new or complementary product lines, and gaps in our product
4
            assortment relative to our competitors.

5                                             *       *       *

6           [W]e use aggregated store data on total sales and search volume for categories and
            products (unless the product is only offered by a single seller, in which case we do
7           not use that data).
8                                             *       *       *
9           [T]he featured offer algorithm does not favor any particular type of offer, but rather
10          seeks to determine which offer to highlight based on a prediction of which offer
            customers would choose if they were to compare all offers in detail. If our
11          prediction is that the customer would likely prefer a product from a Marketplace
            seller over the offer from Amazon, then we feature the product from the
12          Marketplace seller. We constantly refine our predictions to reflect customer
            preferences, and look to factors beyond price, including fulfillment speed, delivery
13
            speed, Prime eligibility, and seller performance.2 In the rare instances that our
14          algorithmic weighting of these factors results in a tie in our prediction between an
            offer from Amazon retail and a product in Fulfillment by Amazon, we again
15          endeavor to predict accurately customers’ demonstrated preferences and feature the
            Amazon retail offer because our customers show a preference for products sold
16          directly by Amazon.
17          Moreover, we make all offers easily available for all customers to shop. Customers
18
            may compare the closest competing offers and add them directly to their shopping
            cart via the “Other Sellers on Amazon” option [. . .], which is displayed on the
19          product detail page directly below the featured offer. Customers may also browse
            all offers via the offer listing page, accessible via a hyperlink below the featured
20          offer. There, customers may compare offers, sellers, shipping speeds, and prices.
            Our data also demonstrate that customers who compare the available offers
21          overwhelmingly ultimately select the featured offer, further confirming that our
22          criteria for selecting the featured offer accurately predict customer preference.

23          142.   On October 24, 2019, Amazon hosted an earnings call with investors and analysts

24   to discuss the Company’s Q3 2019 results (the “Q3 2019 Earnings Call”). When asked to comment



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1    on the opportunities and competitiveness for third-party sellers, Defendant Olsavsky responded,

2    in relevant part, “[o]n third party I would say we only succeed if the third party sellers succeeds.

3    So we’re heavily invested in them as they are in us. So we are constantly investing on their behalf,

4    adding new products and features and you know we are cognizant of their economics as well and

5    we want a business that works for both of us and we set our fees accordingly.”

6           143.    On January 31, 2020, Amazon filed the 2019 10-K. In the 2019 10-K, Amazon

7    failed to disclose that it was engaged in anticompetitive conduct with respect to its private-label

8    business. Rather, the 2019 10-K contained only a generic, highly general risk disclaimer to the

9    effect that Amazon was “subject to general business regulations and laws, as well as regulations

10   and laws specifically governing the Internet[] [and] e-commerce” and that these laws covered

11   competition, among other things. Accordingly, Amazon failed to disclose the specific and known

12   risks arising from the Company’s anticompetitive business practices.

13          144.    In the 2019 10-K, Amazon reported net sales of $280.52 billion for the year.

14   Amazon failed to disclose, however, that these sales figures were unsustainable to the extent that

15   they were derived from impermissible anticompetitive conduct.

16          145.    Appended to the 2019 10-K as exhibits were signed Certifications pursuant to SOX

17   by Defendants Bezos and Olsavsky, attesting that “the [2019 10-K] fully complies with the

18   requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934” and that “[t]he

19   information contained in the [2019 10-K] fairly presents, in all material respects, the financial

20   condition and results of operations of the Company.”

21          146.    On May 1, 2020, members of the Subcommittee sent Defendant Bezos a letter 21 in

22
     21
          Nadler, Jerrold. Letter to Jeff Bezos. May 1,                      2020.    Retrieved     from
23
     https://judiciary.house.gov/uploadedfiles/2020-05-
24   01_letter_to_amazon_ceo_bezos.pdf?utm_campaign=2719-519.



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1    response to an April 23, 2020 Wall Street Journal article which alleged that Amazon employees

2    used sensitive business information from TPSs on its platform to develop competing products.

3    The letter stated that “[i]f these allegations are true, then Amazon exploited its role as the largest

4    online marketplace in the U.S. to appropriate the sensitive commercial data of individual

5    marketplace sellers and then used that data to compete directly with those sellers,” and encouraged

6    Defendant Bezos to testify before the Subcommittee.

7           147.    On May 15, 2020, Amazon sent a letter in response to the Subcommittee’s

8    May 1, 2020 letter to Defendant Bezos, stating, in relevant part:

9           Because Amazon is privileged to have third-party sellers who now account for the
            great majority of sales of physical goods in Amazon’s store, we determined years
10          ago to take additional steps to give sellers comfort regarding their individual data.
            It was purely for that reason that we went beyond any legal requirement—and
11          beyond the protections in place at any other store we are aware of—to begin to
12
            implement internal policies to restrict the use of non-public data specific to one
            particular selling partner to compete directly with sellers. We did this because we
13          thought it was the right thing to do for our selling partners, who are also critical
            customers of Amazon—we wanted to go the extra mile to protect the trust of third
14          parties selling in our stores. This policy, known internally at Amazon as our Seller
            Data Protection Policy, prohibits the use of nonpublic, seller-specific data to
15          compete against our selling partners. As with any other employee policy at
16          Amazon, we take the policy seriously, we train extensively on it, leadership
            reinforces that training, we audit for compliance, we examine allegations of
17          breaches of the policy, and we iterate and improve based on what we learn. We do
            all of this solely in order to promote and enhance third party sellers’ trust in
18          Amazon, trust that we know is essential to our business.
19                                             *       *       *
20
            In particular, on the issue of our use of data, the Committee asked in July 2019
21          whether Amazon uses “any of the data (including aggregate data on specific
            product categories) it collects on Marketplace transactions to inform its private
22          label strategy?” We responded clearly: “Yes, while we prohibit in our private label
            strategy the use of data related specifically to individual sellers, like other retailers
23          we use aggregated store data (e.g., total sales) and customer shopping behavior
            (e.g., search volume) to identify categories and products with high customer
24
            demand over a given time period.” [] In response to the Committee’s written


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1           questions for the record last fall, we elaborated that the policy prohibits “Amazon’s
            private brand products business from using individual sellers’ data to decide which
2           products to launch” and that the business is prohibited from using such data “to
            make sourcing, pricing, or inventory decisions for its private brand products.” []
3           Our testimony at the Subcommittee’s July 16, 2019 hearing about our company
4
            policy reaffirmed our policy and is consistent with the written record. As even the
            former employee quoted in the Wall Street Journal made clear, our seller data
5           protection policy is well known to our employees, and using individual seller data
            to aid the private label business would be a clear violation of that policy.
6

7           148.    On July 29, 2020, Defendant Bezos testified before the Subcommittee. 22 During

8    the hearing, when asked by Representative Jayapal whether Amazon “ever access[ed] and use[d]

9    third-party seller data when making business decisions,” Defendant Bezos responded, in relevant

10   part, “I can’t answer that question yes or no. What I can tell you is we have a policy against using

11   seller-specific data to aid our private label business, but I can’t guarantee you that that policy has

12   never been violated.”

13          149.    On September 4, 2020, Amazon submitted responses to the Subcommittee’s post-

14   July 29, 2020 hearing requests. 23 In response to a request from Chairman Cicilline regarding

15   Amazon employees’ access to TPS data, Amazon stated:

16          Amazon first learned about the alleged violations of Amazon’s voluntarily adopted
            Seller Data Protection Policy recently reported in The Wall Street Journal from The
17          Wall Street Journal. The Journal’s reporting conflates product-pricing and top-
            seller data—both of which are publicly displayed in Amazon’s store—with the
18
     22
        Online Platforms and Market Power, Part 6: Examining the Dominance of Amazon, Apple,
19
     Facebook, and Google: Hearing Before the Subcommittee on Antitrust, Com. & Admin. L. of the
20   H. Comm. on the Judiciary, 116th Cong. 11-12, 101-3, 109-11, 113-18, 122-25, 130-33, 138-40,
     145-46, 148, 153, 160-61, 164-66 (2020) (testimony of Jeffrey P. Bezos, CEO, Amazon.com, Inc.),
21   https:www.govinfo.gov/content/pkg/CHRG-116hhrg41317/pdf/CHRG-116hhrg41317.pdf.
22   23
       Questions for the Record for Amazon following the July 29, 2020, Hearing of the Subcommittee
     on Antitrust, Commercial, and Administrative Law, Committee on the Judiciary. September 4,
23
     2020. https://docs.house.gov/meetings/JU/JU05/20200729/110883/HHRG-116-JU05-20200729-
24   QFR052.pdf



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1           individual seller data protected by Amazon’s Seller Data Protection Policy.
            Amazon encourages employees to report any indication of potential lack of
2           compliance with all internal policies, including the Seller Data Protection Policy,
            and Amazon responds appropriately to any such reports.
3
            150.    On October 4, 2020, Amazon sent a letter to the Subcommittee “to follow up to
4
     questions related to Amazon’s Seller Data Protection Policy and related internal investigation
5
     raised during the Antitrust Subcommittee’s recent hearing and in response to the October 3 email
6
     from Subcommittee staff.” 24 The October 4, 2020 letter stated, in relevant part:
7
            Amazon’s investigation into the Wall Street Journal’s allegations that Amazon
8
            employees violated the Seller Data Protection Policy is complete, and we are
9           satisfied that the results confirm, as with all our policies, the seriousness with which
            we take this policy.
10
                                               *       *       *
11
            There is some confusion on Amazon’s use of its own store data. Amazon’s data
12          about the costs of selling in its own stores—data like the cost to shelve, handle, and
            promote a product that all stores have and use to manage their business—does not
13
            become secret when it relates to a product sold by a third party in Amazon’s store.
14          Amazon stills needs to process and use this information, like all retailers, to operate
            its store and better serve customers. In determining whether to launch a new
15          product, including its own private-label products, Amazon takes into account
            factors such as the costs to shelve, handle, and promote that product. And, like any
16          other retailer, it combines such store data with its own procurement and other costs
            to determine whether it believes sales of that product will be profitable. But that
17
            store data is the same irrespective of the seller. And, we do not receive information
18          on costs incurred to procure or manufacture a product, or related profit data, from
            third-party sellers.
19
            As an additional measure to protect the trust of our selling partners, Amazon’s
20          policy does not permit private brands employees to look at the number of sales
            made by a single seller. The policy does generally permit employees to look at
21
            aggregate sales data for products sold in the Amazon store—that is, data on the
22          number of sales of a product in the Amazon store where there is more than one

23   24
        Huseman, Brian. Letter to Chairmen Nadler and Cicilline. October 4, 2020. Retrieved from
     https://judiciary.house.gov/uploadedfiles/letter_from_brian_huseman_to_committee__oct_04_20
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     20.pdf.


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1           seller of that product. It is confusion on this point that seems to have animated this
            year’s Wall Street Journal article,[] which appears to use the generic word “data”
2           to mean both single-seller or aggregate data, resulting in the inaccurate implication
            that the use of any sort of Amazon sales data (even aggregate data) would violate
3           the policy. Indeed, Amazon's records of past data queries related to the two products
4
            cited in the Wall Street Journal report show that a single former employee pulled
            and analyzed only aggregate data for both products in compliance with the Seller
5           Data Protection Policy. And of course there is nothing novel about a retailer looking
            at its own store’s aggregate sales data for a product in this way; retailers have used
6           aggregate sales data for products sold in their stores for decades.
7           151.    On February 3, 2021, Amazon filed the 2020 10-K. In the 2020 10-K, Amazon
8    failed to disclose that it was engaged in anticompetitive conduct with respect to its private-label
9    business. Rather, the 2020 10-K contained only a generic, highly general risk disclaimer to the
10   effect that Amazon was “subject to general business regulations and laws, as well as regulations
11   and laws specifically governing the Internet[] [and] e-commerce” and that these laws covered
12   competition, among other things. Accordingly, Amazon failed to disclose the specific and known
13   risks arising from the Company’s anticompetitive business practices.
14          152.    In the 2020 10-K, Amazon reported net sales of $386.06 billion for the year.
15   Amazon failed to disclose, however, that these sales figures were unsustainable to the extent that
16   they were derived from impermissible anticompetitive conduct.
17          153.    Appended to the 2020 10-K as exhibits were signed Certifications pursuant to SOX
18   by Defendants Bezos and Olsavsky, attesting that “the [2020 10-K] fully complies with the
19   requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934” and that “[t]he
20   information contained in the [2020 10-K] fairly presents, in all material respects, the financial
21   condition and results of operations of the Company.”
22          154.    On October 18, 2021, members of the Subcommittee sent Amazon a letter in
23   response to “recent, credible reporting that directly contradicts the sworn testimony and
24   representations of Amazon’s top executives—including former CEO Jeffrey Bezos—to the



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1    Committee about their company’s business practices during our investigation last Congress.” 25

2    The letter stated that the Subcommittee was “providing [the Company] with a final opportunity to

3    provide exculpatory evidence to corroborate the prior testimony and statements on behalf of

4    Amazon to the Committee,” and encouraged Amazon to “provide the Committee with sworn,

5    truthful, and accurate responses to this request as we consider whether a referral of this matter to

6    the Department of Justice for criminal investigation is appropriate.”

7            155.    On November 1, 2021, Amazon sent a letter 26 in response to the Subcommittee’s

8    October 18, 2021 letter, stating that Amazon “ha[d] cooperated fully with the Committee’s

9    inquiries and engaged in good faith throughout this process, and the resulting record fully supports

10   the transparency, candor, accuracy, and truthfulness of all of our statements, including on the

11   topics raised in your letter,” and that the Company “ha[d] in no way lied to or misled the

12   Committee, and any allegation to the contrary is false and unsupported.” Further, Amazon’s

13   response letter stated, in relevant part:

14           [Amazon’s] statements to the Committee regarding this policy have been truthful
             and consistent throughout. At the July 16, 2019, hearing our witness stated that
15           Amazon does not use individual seller data to compete with third party sellers,
             clarifying specifically that Amazon does not “use any of that specific seller data in
16           creating our own private brand products” and that Amazon does “not use their
17
             individual data when we’re making decisions to launch private brands.”[] We
             confirmed that policy and further elaborated upon our witness’s live testimony in
18           our July 26, 2019, follow-up letter to the Committee, explaining that, “While we
             prohibit in our private label strategy the use of data related specifically to individual
19           sellers, like other retailers we use aggregated store data (e.g., total sales) and
20
     25
             Nadler,     Jerrold.    Letter     to      Andy   Jassy.     October     18,     2021.
21   https://judiciary.house.gov/uploadedfiles/letter_-_amazon_misrepresentations_-_10.18.21.pdf.
22   26
        Huseman, Brian. Letter to Chair Nadler, Chair Cicilline, Ranking Member Buck, Vice Chair
     Jayapal,         and        Representative         Gaetz.      November       1,      2021.
23
     https://judiciary.house.gov/uploadedfiles/letter_from_brian_huseman_to_committee__nov_01_2
24   021.pdf.



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1           customer shopping behavior (e.g., search volume) to identify categories and
            products with high customer demand over a given time period.”[] And in our
2           October 11, 2019, response to the Committee’s subsequent written questions for
            the record, we again confirmed that “Amazon prohibits Amazon’s private brand
3           products business from using non-public individual sellers’ data to decide which
4
            products to launch, and Amazon prohibits the use of non-public individual sellers’
            data to make sourcing, pricing, or inventory decisions for its private brand
5           products.”[] In response to Vice Chair Jayapal’s question during the July 29, 2020,
            hearing referencing our witness’s testimony of a year prior, Mr. Bezos testified,
6           “What I can tell you is we have a policy against using seller-specific data to aid our
            private label business, but I can’t guarantee you that that policy has never been
7           violated.”[] He also again clarified that using “aggregate data is allowed under our
8           policies,”[] that “aggregate data” refers to more than one seller, and that Amazon’s
            policy permits the use of aggregate data when there are many or only two or three
9           sellers of a product.[] In written responses to questions for the record after that
            hearing, Amazon again explained the differences between aggregate versus seller-
10          specific data in the Seller Data Protection Policy, elaborated on our entirely
            consistent prior testimony, and answered questions about Amazon’s enforcement
11
            and auditing of its Seller Data Protection Policy.
12          156.    On February 3, 2022, Amazon hosted an earnings call with investors and analysts
13   to discuss the Company’s Q4 2021 results (the “Q4 2021 Earnings Call”). When asked to discuss
14   why TPS services experienced less growth, Defendant Olsavsky responded, in relevant part:
15          On 3P, I think what you’re seeing is a decreasing growth rate, much like the rest of
            the business, as I mentioned earlier, we’re dealing with the very high growth period
16          from Q3 of 2020 through Q1 of 2021. But on a two-year basis, you’re still seeing
17          31% compounded annual growth in the 3P seller services revenue. Granted that was
            in the -- it was 34% last quarter, but it’s maintaining. I think the bigger point is that
18          sellers are definitely big winners in Q4. The percentage of units up to 56% was a
            record for 3P. We continue to invest a lot to make sellers -- help sellers be
19          successful on our site. They’re a big consumer of advertising as well because they
            use it to build their brands and add -- enable customers to see their selection and
20
            make purchases. So we’re very happy with the third-party seller services
21          businesses, and again, looking for ways to help sellers be successful.

22          157.    On February 4, 2022, Amazon filed the 2021 10-K. In the 2021 10-K, Amazon
23   failed to disclose that it was engaged in anticompetitive conduct with respect to its private-label
24   business. Rather, the report contained only a generic, highly general risk disclaimer to the effect



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1    that Amazon was “subject to general business regulations and laws, as well as regulations and laws

2    specifically governing the Internet[] [and] e-commerce” and that these laws covered competition,

3    among other things. Accordingly, Amazon failed to disclose the specific and known risks arising

4    from the Company’s anticompetitive business practices.

5           158.    In the 2021 10-K, Amazon reported net sales of $469.82 billion for the year.

6    Amazon failed to disclose, however, that these sales figures were unsustainable to the extent that

7    they were derived from impermissible anticompetitive conduct.

8           159.    Appended to the 2021 10-K as exhibits were signed Certifications pursuant to SOX

9    by Defendants Jassy and Olsavsky, attesting that “the [2021 10-K] fully complies with the

10   requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934” and that “[t]he

11   information contained in the [2021 10-K] fairly presents, in all material respects, the financial

12   condition and results of operations of the Company.”

13          160.    The statements referenced in this section were materially false and misleading

14   because the Individual Defendants made false and/or misleading statements and/or failed to

15   disclose that: (i) Amazon engaged in anticompetitive conduct in its private-label business

16   practices, including giving Amazon products preference over those of its competitors and using

17   third-party sellers’ non-public data to compete with them; (ii) the foregoing exposed Amazon to a

18   heightened risk of regulatory scrutiny and/or enforcement actions; (iii) Amazon’s revenues derived

19   from its private-label business were in part the product of impermissible conduct and thus

20   unsustainable; and (iv) as a result, the Individual Defendants’ public statements throughout the

21   relevant period were materially false and/or misleading.

22
                           d.      The Lies to Congress Regarding Amazon’s
23                                 Anticompetitive Practices Are Exposed

24          161.    On March 9, 2022, media outlets reported that members of the House Judiciary



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1    Committee had requested that the DOJ open a criminal investigation into Amazon and certain of

2    its executives for allegedly lying to Congress about its business practices.

3            162.   As Bloomberg reported:

4            “Amazon repeatedly endeavored to thwart the Committee’s efforts to uncover the
             truth about Amazon’s business practices,” a bipartisan group of lawmakers from
5            the House Judiciary Committee wrote Wednesday in a letter to Attorney General
             Merrick Garland. “For this, it must be held accountable.”
6
             At issue is testimony given by Amazon during a 16-month congressional
7
             investigation into anticompetitive practices by tech giants. Amazon representatives,
8            including then Chief Executive Officer Jeff Bezos, told Congress the company
             forbids employees from using data from third-party sellers to compete against them
9            or craft rival products. But a series of media accounts suggested that Amazon
             employees have done just that, or at least found workarounds that render the policy
10           useless.
11           This isn’t the first time committee members have raised concerns about Amazon’s
12           testimony. Last October, the lawmakers asked Chief Executive Officer Andy Jassy
             to “correct the record” as they considered referring the matter to the Justice
13           Department for criminal investigation.

14           Since then, the company has continued to deny it missuses seller data and refused
             to turn over business records, the lawmakers wrote. “As a result, we have no choice
15           but to refer this matter to the Department of Justice,” they wrote.
16           163.   In response, an Amazon spokesperson asserted that there was “no factual basis” for

17   the House Judiciary Committee’s allegations.

18           164.   Then, on April 6, 2022, The Wall Street Journal published an article entitled “SEC

19   Is Investigating How Amazon Disclosed Business Practices.” The article reported, in relevant

20   part:

21           Federal securities regulators are investigating how Amazon.com Inc. has disclosed
             some details of its business practices, including how it uses third-party-seller data
22           for its private-label business, according to people familiar with the matter.
23           The Securities and Exchange Commission is probing how the technology giant—
24           the largest U.S. e-commerce retailer and cloud-computing company—handled



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1           disclosures of its employees’ use of data from sellers on its e-commerce platform,
            the people said. The SEC’s enforcement division has asked for emails and
2           communications from several senior Amazon executives, according to one of the
            people.
3
                                               *       *       *
4

5
            As a result of its 16-month investigation into technology companies including
            Amazon beginning in 2019, the [House Judiciary Committee] proposed a series of
6           bills aimed at reining in tech giants. One of the measures targets Amazon’s private-
            label business, seeking to make it unlawful for the company to give its own products
7           preference over those of competitors, or to use sellers’ nonpublic data to compete
            with them.
8
                                               *       *       *
9

10          The SEC’s probe has been under way for more than a year, one of the people
            familiar with the matter said
11

12          165.    On this news, Amazon’s stock price fell $105.98 per share, or 3.2%, to close at

13   $3,175.12 per share on April 6, 2022.

14          166.    As a result of the Individual Defendants’ wrongful acts and omissions, and the

15   precipitous decline in the market value of Amazon’s stock, the Company has suffered significant

16   losses and damages.

17   V.     THE INDIVIDUAL DEFENDANTS’ DUTIES

18          A.      Fiduciary Duties

19          167.    By reason of their positions as officers and/or directors of Amazon and because of
20   their responsibility to control the business and corporate affairs of the Company, the Individual
21   Defendants owed, and owe, the Company and its stockholders the fiduciary obligations of good
22   faith, loyalty, due care, and candor and were, and are, required to use their utmost ability to control
23   and manage the Company in a just, honest, fair, and equitable manner. Each Individual Defendant
24   owed, and owes, the Company and its stockholders the fiduciary duty to exercise good faith and



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1    diligence in the administration of the affairs of the Company, as well as the highest obligations of

2    fair dealing and not to act in furtherance of his or her personal interest or benefit.

3           168.    Because of their positions of control and authority as officers and/or directors of

4    Amazon, Defendants were able to, and did, directly and/or indirectly, exercise control over the

5    wrongful and illegal acts complained of herein. Because of their advisory, executive, managerial,

6    and directorial positions with Amazon, each Defendant had knowledge of material, nonpublic

7    information regarding the Company. In addition, as officers and/or directors of a publicly held

8    company, Defendants had a duty to promptly disseminate accurate and truthful information with

9    regard to the Company’s business, operations, and prospects including accurate information

10   concerning financial, operational, legal regulatory and enforcement risks, so that the market price

11   of the Company’s stock would be based on truthful and accurate information.

12          169.    At all times relevant hereto, each Defendant was the agent of each of the other

13   Defendants and of Amazon and was at all relevant times acting within the course and scope of

14   such agency.

15          170.    To discharge their duties, Defendants were, and are, required to exercise reasonable

16   and prudent oversight and supervision over the management, policies, practices, and controls of

17   Amazon. By virtue of such duties, Defendants were, and are, required to, among other things:

18                  (a)     Exercise good faith to ensure that the Company is operated in a diligent,

19                          efficient, honest, and prudent manner and in accordance with all applicable

20                          laws (including federal and state laws, government rules and regulations,

21                          and the Company’s certificate of incorporation and bylaws);

22                  (b)     Neither violate nor knowingly permit any officer, director, or employee of

23                          Amazon to violate any applicable laws, rules, or regulations;

24                  (c)     Remain informed as to the status of Amazon’s operations, and upon receipt



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1                           or notice of information of illegal, imprudent or unsound practices, to make

2                           a reasonable inquiry in connection thereto and to take steps to correct such

3                           conditions or practices;

4                   (d)     Establish and maintain systematic and accurate records and reports of the

5                           business and affairs of Amazon and procedures for the reporting of the

6                           Company’s business and affairs to the Board and to periodically investigate,

7                           or cause independent investigation to be made of, said reports and records;

8                   (e)     Maintain and implement an adequate, functioning system of internal

9                           controls, such that the affairs and operations of Amazon are conducted in

10                          accordance with all applicable laws, rules, and regulations; and

11                  (f)     Truthfully and accurately inform and guide investors and analysts with

12                          respect to the business operations of the Company.

13          B.      Duties Pursuant to Amazon’s Code of Business Conduct and Ethics

14          171.    Amazon has in place a Code of Business Conduct and Ethics. The very first

15   principle it espouses states, “Employees must follow applicable laws, rules and regulations at all

16   times. Employees with questions about the applicability or interpretation of any law, rule or

17   regulation, should contact the Legal Department.”

18          172.    Amazon’s Code of Business Conduct and Ethics also applies equally to its

19   directors, stating “With respect to their service on behalf of the Company, Amazon.com's Board

20   of Directors must comply with the relevant provisions of this Code of Conduct, including conflicts

21   of interest, insider trading and compliance with all applicable laws, rules and regulations.”

22          C.      Additional Duties of the Audit Committee Defendants

23          173.    In addition to the duties discussed above with respect to all of the Individual
24   Defendants, the Audit Committee Defendants owed specific duties to Amazon under the Audit



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1    Committee Charter (“Audit Charter”). Among other things, the Audit Charter charges the Audit

2    Committee Defendants with the following authority and responsibilities, among others:

3              1. Annual and Quarterly Financial Reporting: The Committee reviews and
               discusses with management and the independent auditors the annual audited and
4              quarterly unaudited financial statements and related disclosures included in the
               Company's quarterly earnings releases and in the Company's periodic reports on
5              Form 10-K and 10-Q.
6
                                               *      *      *
7
               3. Disclosure, Accounting and Financial Controls: The Committee discusses with
8              management, the senior internal audit executive and the independent auditors the
               adequacy and effectiveness of the Company's disclosure controls and procedures,
9              the adequacy and effectiveness of the Company's internal control over financial
               reporting, and the Company's risk assessment and risk management policies,
10             including data privacy and security, business continuity, and operational risks.
11
                                               *      *      *
12
               10. Legal, Regulatory, and Compliance: The Committee oversees legal and
13             regulatory matters that may have a material impact on the Company's financial
               statements and the Company’s Code of Business Conduct and Ethics (other than
14             with respect to workplace discrimination and harassment). The Committee
               periodically reviews the Company's compliance policies and procedures, and
15
               receives and reviews certain reports on complaints, allegations, and incidents
16             reported pursuant to the Code of Business Conduct and Ethics or through the
               Company’s other hotlines and procedures.
17
               D.     Additional Duties of the Nominating and Corporate Governance
18                    Committee Defendants
19             174.   In addition to the duties discussed above with respect to all of the Individual
20   Defendants, the Nominating and Corporate Governance Committee Defendants owed specific
21   duties to Amazon under the Nominating and Corporate Governance Committee Charter (“NCGC
22   Charter”). Among other things, the NCGC Charter charges the Nominating and Corporate
23   Governance Committee Defendants with the following authority and responsibilities, among
24   others:



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1           11. The Committee oversees and monitors the Company’s policies and initiatives
            relating to corporate social responsibility, including human rights and ethical
2           business practices, and risks related to the Company’s operations and engagement
            with customers, suppliers, and communities, other than with respect to human
3           capital management matters, which are overseen by the Leadership Development
4
            and Compensation Committee, and compliance and controls matters, which are
            overseen by the Audit Committee.
5
            12. The Committee oversees the Company’s corporate governance initiatives and
6           periodically considers, and reports to the Board on, corporate governance policies.
            In connection with this responsibility, the Committee develops and periodically
7           reviews the Corporate Governance Guidelines and recommends changes to the
            Board.
8

9           175.    “Under its charter, the Nominating and Corporate Governance Committee, which

10   is comprised of directors with experience in emerging technologies and public policy, is given

11   responsibility for overseeing and monitoring the Company’s policies and initiatives relating to

12   corporate social responsibility, including human rights and ethical business practices, and risks

13   related to the Company’s operations and engagement with customers, suppliers, and

14   communities.” 2022 Proxy Statement, at p. 86.

15          176.    The Nominating and Corporate Governance Committee Defendants have allegedly

16   provided oversight on behalf of the Board on aspects of Rekognition, including its facial

17   recognition capabilities. “These reviews focus on the actual operation and use of Amazon

18   Rekognition, the potential concerns and abuses that critics have suggested could arise from the

19   technology, and our actions to resolve or mitigate those risks and concerns.” Id.

20
            E.      Additional Duties of the Leadership Development and Compensation
21                  Committee Defendants

22          177.    In addition to the duties discussed above with respect to all of the Individual

23   Defendants, the Leadership Development and Compensation Committee Defendants owed

24   specific duties to Amazon under the Leadership Development and Compensation Committee



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1    Charter (“LDCC Charter”). Among other things, the LDCC Charter charges the Leadership

2    Development and Compensation Committee Defendants with the following authority and

3    responsibilities, among others:

4                   (a)     Overseeing and monitoring the Company’s strategies and policies related to

5                           human capital management within the Company’s workforce, including

6                           with respect to policies on diversity and inclusion, workplace environment

7                           and safety, and corporate culture.

8                   (b)     The Committee establishes and reviews the compensation of the

9                           Company’s Chief Executive Officer (“CEO”) and all other executive

10                          officers, including establishing terms of employment for new executive

11                          officers; periodically reviewing and approving compensation for existing

12                          executive officers; reviewing and approving any compensation-related

13                          performance goals, including evaluating the satisfaction of such goals; and

14                          approving the terms associated with any executive officer’s termination of

15                          employment.

16   VI.    DAMAGES TO AMAZON

17          178.    As a direct and proximate result of the Individual Defendants’ misconduct, actions,

18   and failure to act, Amazon has suffered and continues to suffer significant harm, including, but not

19   limited to:

20                  (a)     Legal and other costs incurred, and the distraction of, investigating and

21                          defending Amazon—including its subsidiaries, such as AWS—in the

22                          Consumer Class Actions, the Antitrust Actions, and the Securities Class

23                          Action, as well as potentially hundreds of millions of dollars in damages in

24                          connection with any settlements or judgments in connection therewith or



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1                   any other related litigation;

2             (b)   Legal and other costs incurred, and the distraction of, investigating and

3                   defending Amazon in connection with the DOJ Criminal Investigation and

4                   the SEC Probe, as well as the costs incurred in connection with any

5                   penalties, fines, or other monetary impositions resulting therefrom;

6             (c)   Loss in market capitalization;

7             (d)   Legal and other costs incurred due to an increase in regulatory scrutiny of

8                   Amazon’s future products and services;

9             (e)   Costs incurred related to any corrective measures or changes to Amazon’s

10                  products or services in order to comply with laws or regulations applicable

11                  to the misconduct;

12            (f)   The irreparable harm to the Company’s reputation, loss of credibility, and

13                  loss of goodwill associated with the Company’s continued violations of law

14                  and its failure to properly disclose the associated risks in its public

15                  statements concerning its business, operations, and prospects;

16            (g)   Costs incurred from the unjust and unwarranted compensation and benefits

17                  paid to the Individual Defendants and other members of Amazon’s

18                  management while they were engaged in the improper conduct alleged

19                  herein; and

20            (h)   Mounting risk of catastrophic statutory damages on a per violation basis,

21                  with millions of violations occurring daily each and every time biometric

22                  data is captured and stored on Amazon devices, third party data is stored in

23                  Amazon cloud-based services, and data is captured concerning Amazon

24                  employees.



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1    VII.    CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

2            179.    In committing the wrongful acts alleged herein, the Individual Defendants have

3    pursued, or joined in the pursuit of, a common course of conduct and have acted in concert with

4    and conspired with one another in furtherance of their common plan or design. In addition to the

5    wrongful conduct alleged herein giving rise to primary liability, the Individual Defendants further

6    aided and abetted and/or assisted each other in breaching their respective duties.

7            180.    During all times relevant hereto, the Individual Defendants, collectively and

8    individually, initiated a course of conduct that was designed to and did, among other things:

9    (i) deceive the investing public including stockholders of Amazon; and (ii) permit flawed and

10   ineffectual internal controls over the Company’s operations.         In furtherance of this plan,

11   conspiracy, and course of conduct, the Individual Defendants, collectively and individually, took

12   the actions set forth herein.

13           181.    The Individual Defendants engaged in a conspiracy, common enterprise, and/or

14   common course of conduct. During this time, the Individual Defendants caused and/or allowed

15   the improper conduct described herein.

16           182.    The purpose and effect of the Individual Defendants’ conspiracy, common

17   enterprise, and/or common course of conduct was, among other things, to disguise the Individual

18   Defendants’ violations of state and federal law, breaches of fiduciary duty, waste of corporate

19   assets, unjust enrichment, and to conceal adverse information concerning the Company’s business,

20   operations, and future prospects.

21           183.    The Individual Defendants accomplished their conspiracy, common enterprise,

22   and/or common course of conduct by causing the Company to purposefully or recklessly engage

23   in the improper conduct described herein. Because the Individual Defendants’ actions occurred

24   under the authority of the Board, each Individual Defendant was a direct, necessary, and substantial



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1    participant in the conspiracy, common enterprise, and/or common course of conduct complained

2    of herein.

3           184.    Each Individual Defendant aided and abetted and rendered substantial assistance in

4    the wrongs complained of herein. In taking such actions to substantially assist the commission of

5    the wrongdoing complained of herein, each Individual Defendant acted with knowledge of the

6    primary wrongdoing, substantially assisted in the accomplishment of that wrongdoing, and was

7    aware of his or her overall contribution to and furtherance of the wrongdoing.

8    VIII. DERIVATIVE ALLEGATIONS

9           185.    Plaintiff brings this action derivatively in the right and for the benefit of the

10   Company to redress injuries suffered, and to be suffered, by Amazon as a direct result of the

11   breaches of fiduciary duty, waste of corporate assets, and unjust enrichment by the Individual

12   Defendants.

13          186.    Amazon is named as the nominal defendant in this case solely in a derivative

14   capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

15   otherwise have.

16          187.    Plaintiff will adequately and fairly represent the interests of the Company and its

17   stockholders in prosecuting this action.

18          188.    Due to the Board’s direct involvement in the wrongdoing, its members’ lack of

19   independence, and the substantial likelihood of liability its members face, prosecution of this

20   action independent of the Board is in the best interests of the Company and its stockholders.

21   IX.    FUTILITY ALLEGATIONS

22          189.    Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

23          190.    Amazon’s current Board, the “Demand Board,” consists of eleven members, Bezos,

24   Jassy, Alexander, Cooper, Gorelick, Huttenlocher, McGrath, Nooyi, Rubinstein, Stonesifer, and



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1    Weeks. Plaintiff has not made any demand on the Board to institute this action because such a

2    demand would be a futile and useless act.

3
               A.     Demand Is Excused as to Defendants Bezos and Jassy Because They
4                     Lack Independence

5              191.   Both Defendants Bezos and Jassy fall under the NASDAQ’s definition of directors
6    who are not independent. According to the NASDAQ’s rules regarding listing, a director is not
7    independent if he or she is, or has been within the last three years, an employee or an executive
8    officer of the listed company. Because Defendant Jassy is Amazon’s current President and CEO,
9    he may not be considered independent. Likewise, Defendant Bezos may not be considered
10   independent as he served as its CEO from Amazon’s founding up until July 2021. The Company’s
11   2022 Proxy Statement does not indicate that Defendants Bezos and Jassy are “independent” as
12   defined by the NASDAQ rules.
13             192.   Furthermore, Defendant Jassy is not independent because his principal professional
14   occupation is his employment with Amazon.
15             193.   As President and CEO of Amazon beginning in July 2021 and previously CEO of
16   AWS since April 2016, Defendant Jassy received significant compensation from the Company as
17   described herein. Accordingly, Defendant Jassy lacks independence from the other members of
18   the Board due to his interest in maintaining his executive positions.
19             194.   This lack of independence renders Defendants Bezos and Jassy incapable of
20   impartially considering a demand to commence and vigorously prosecute this action.
21
               B.     Demand Is Excused Because the Demand Board Faces a Substantial
22                    Likelihood of Liability for Their Misconduct
23             195.   Each member of the Demand Board breached their fiduciary duties by, among other
24   things:



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1                  (a)    Failing to ensure the Company’s compliance with relevant legal and

2                         regulatory requirements;

3                  (b)    Failing to heed and take action upon red flags indicating violations of

4                         applicable laws and regulations across the Company and that the

5                         Company’s internal controls to ensure compliance with applicable laws and

6                         regulations were inadequate;

7                  (c)    Failing to maintain an adequate system of oversight, accounting controls

8                         and procedures, disclosure controls, and other internal controls, which were

9                         necessary to prevent or promptly correct the improper statements made on

10                        the Company’s behalf;

11                 (d)    Themselves affirmatively making, allowing to be made, and/or failing to

12                        correct improper statements in SEC filings relating to the Company’s

13                        operations, internal controls, legal proceedings and risks (including

14                        financial, operational, legal, regulatory and enforcement, risks); and

15                 (e)    Awarding Amazon’s senior executives lavish compensation packages,

16                        despite their knowledge of and responsibility for the Company’s willful

17                        misconduct.

18          196.   Amazon’s violations of BIPA are longstanding, have been raised before the

19   Demand Board, and have been repeatedly disregarded by the Demand Board. In Amazon’s 2019

20   and 2020 Proxy Statements, the Board even dismissed shareholder concerns specifically raising

21   the illegality and privacy implications of Amazon’s facial recognition system, Rekognition. A

22   majority of the current members of the Demand Board – namely, Defendants Bezos, Gorelick,

23   Huttenlocher, McGrath, Nooyi, Rubinstein, Stonesifer, and Weeks – were among the directors

24   who dismissed shareholder concerns about BIPA and privacy violations.



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1              197.   In Amazon’s 2022 Proxy Statement, the current Demand Board dismissed the risks

2    posed to the Company by Amazon’s flouting of consumer privacy rights under the law and

3    responded to shareholder concerns by attempting to reassure shareholders that: “Our Board has

4    reviewed Amazon Rekognition, along with other programs, as part of numerous AWS business

5    reviews.” 27

6              198.   Each member of the Demand Board, by virtue of their positions as trusted

7    fiduciaries of the Company charged with overseeing the Company’s business and operations, knew

8    of the Company’s anticompetitive practices as well. Amazon derives substantial revenues from

9    its anticompetitive practices, and as such, the Demand Board would necessarily have to have been

10   aware of these improper practices. Moreover, the DOJ was well aware of the Company’s

11   anticompetitive practices by March 9, 2022, and media outlets reported that as of April 6, 2022,

12   the SEC Probe was already well underway and had been for more than one year.

13             199.   Accordingly, the Demand Board faces a substantial likelihood of liability for their

14   breaches of fiduciary duties, making any demand upon them futile.

15             200.   Additionally, the Audit Committee Defendants at all relevant times, had

16   specifically defined duties to properly oversee: (i) the integrity of the Company’s publicly reported

17   financial statements, press releases, and guidance; (ii) its system of internal, financial, and

18   administrative controls; and (iii) the Company’s compliance with legal and regulatory

19   requirements, including risk management policies and consumer privacy violation risks. Thus, the

20   Audit Committee Defendants were responsible for knowingly or recklessly allowing and failing

21   to correct the improper conduct detailed herein.

22             201.   For these reasons, the Audit Committee Defendants face a substantial likelihood of

23
     27
24        2022 Proxy Statement, at p. 86.



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1    liability for their breach of fiduciary duties, making any demand upon them futile.

2           202.    Additionally, the Nominating and Corporate Governance Defendants—who have

3    “experience in emerging technologies and public policy”—at all relevant times specifically

4    reviewed risks of Amazon’s Rekognition facial recognition technology in operation and actions to

5    resolve or mitigate those risks, as part of their duty to oversee the Company’s ethical business

6    practices. Thus, the Nominating and Corporate Governance Defendants were responsible for

7    knowingly or recklessly allowing and failing to correct the improper conduct detailed herein.

8           203.    For these reasons, the Nominating and Corporate Governance Defendants face a

9    substantial likelihood of liability for their breaches of fiduciary duties, making any demand upon

10   them futile.

11          204.    The Demand Board is aware of Amazon’s violations of law as detailed herein.

12   Fiduciaries of a Delaware Corporation cannot be loyal to a Delaware corporation by knowingly

13   causing it to seek profit by violating the law. Each of the Directors face substantial likelihood of

14   personal liability for breaching their duty of loyalty, among many other duties.

15          205.    In the face of the knowing and continuing violations of law, each of the Directors

16   has failed to act, both to remedy illegal conduct and to apprise shareholders of the risks attendant

17   to Amazon’s conduct, demonstrating a conscious disregard for their responsibilities and failing to

18   discharge their fiduciary duty of loyalty in good faith.

19          206.    Demand is futile as to each of the members of the Demand Board.

20          C.      Demand Is Excused for Additional Reasons

21          207.    Demand is futile because the Demand Board is dominated and controlled by

22   Defendant Bezos because of his immense influence as founder of the company and long tenure as

23   CEO. Defendant Bezos built Amazon into one of the largest and most profitable companies in the

24   world and has about a 13% stake in the Company.



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1              208.   The Demand Board members are likewise conflicted and unable to pursue the

2    Company’s claims against the Officer Defendants. Any effort to directly prosecute such claims

3    against the Officer Defendants for their direct roles in the violations of applicable law carried out

4    in Amazon’s name would necessarily expose the Board’s own culpability for the very same

5    conduct. In other words, given that the Demand Board was required to be regularly informed

6    concerning the Company’s public reporting, outlook, controls, and employment decisions with

7    respect to the Company’s most senior officers, any effort by the Board to hold the Officer

8    Defendants liable would lead the Officer Defendants to defend on the ground that their own

9    conduct was consistent with corporate policy and practice, as established by and known to the

10   Demand Board.

11             209.   Moreover, the acts complained of constitute violations of the fiduciary duties owed

12   by Amazon’s officers and directors, and these acts are incapable of ratification. Despite having

13   knowledge of the claims and causes of action raised by Plaintiff, the Demand Board has failed and

14   refused to seek to recover on behalf of the Company for any of the wrongdoing alleged by Plaintiff

15   herein.

16
                                           FIRST CAUSE OF ACTION
17
                                        Breach of Fiduciary Duties
18                                   (Against the Director Defendants)
19             210.   Plaintiff incorporates by reference and realleges each of the preceding paragraphs
20   above as if fully set forth herein.
21             211.   The Director Defendants owed and owe Amazon fiduciary obligations. By reason
22   of their fiduciary relationships, the Director Defendants specifically owed and owe Amazon the
23   highest obligation of good faith, fair dealing, loyalty, and due care in the administration of the
24   affairs of the Company, including, without limitation, the oversight of the Company’s compliance



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1    with state and federal privacy laws, rules, and regulations, as well as the duty of candor and truthful

2    disclosure with respect to their public statements.

3           212.    The Director Defendants also owed and owe Amazon fiduciary duties under state

4    corporation law, which impose broad obligations on Defendants vis-a-vis the corporation and its

5    individual stockholders.

6           213.    In addition, the Director Defendants have specific fiduciary duties as defined by the

7    Company’s corporate governance documents, including its Guidelines on Significant Corporate

8    Governance Issues, Code of Business Conduct and Ethics, and the charters of various Board

9    committees, and principles that, had they been discharged in accordance with the Director

10   Defendants’ obligations, would have prevented the misconduct and the consequent harm to the

11   Company.

12          214.    Each Director Defendant violated his or her fiduciary duties by consciously

13   causing, or consciously failing to prevent the Company from engaging in, the improper acts

14   complained of herein.

15          215.    The Director Defendants consciously breached their fiduciary duties and violated

16   their corporate responsibilities in at least the following ways:

17                  (a)      Failing to ensure the Company’s compliance with relevant legal and

18                           regulatory requirements;

19                  (b)      Failing to heed and take action upon red flags indicating violations of law

20                           across the Company and that the Company’s internal controls to ensure

21                           compliance with applicable laws and regulations were inadequate;

22                  (c)      Failing to maintain an adequate system of oversight, accounting controls

23                           and procedures, disclosure controls, and other internal controls, which were

24                           necessary to prevent or promptly correct the improper statements made on



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1                          the Company’s behalf;

2                   (d)    Themselves affirmatively making, allowing to be made, and/or failing to

3                          correct improper statements in SEC filings and other public disclosures

4                          relating to the Company’s operations, internal controls, legal proceedings

5                          and risks (including financial, operational, legal, regulatory and

6                          enforcement, risks);

7                   (e)    Awarding Amazon’s senior executives lavish compensation packages,

8                          despite their knowledge of and responsibility for the Company’s willful

9                          misconduct; and

10                  (f)    Reappointing the same directors who had failed in their duties to the Audit

11                         Committee and Nominating and Corporate Governance Committee.

12          216.    As a direct and proximate result of the Director Defendants’ breaches of their

13   fiduciary obligations, Amazon has sustained significant damages. Accordingly, the Director

14   Defendants are liable to the Company.

15          217.    Plaintiff, on behalf of Amazon, has no adequate remedy at law.

16                                   SECOND CAUSE OF ACTION
17                                     Breach of Fiduciary Duties
18                                   (Against the Officer Defendants)

19          218.    Plaintiff incorporates by reference and realleges each and every allegation

20   contained above, as though fully set forth herein.

21          219.    The Officer Defendants owed fiduciary duties to Amazon and its stockholders. By

22   reason of their positions as fiduciaries to the Company, the Officer Defendants owed duties of

23   good faith, loyalty, candor, and truthful disclosure. In addition, the Officer Defendants have

24   specific fiduciary duties as defined by the Company’s corporate governance documents, including



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1    its Code of Business Conduct and Ethics, and principles that, had they been discharged in

2    accordance with the Officer Defendants’ obligations, would have prevented the misconduct and

3    the consequent harm to the Company.

4           220.    The Officer Defendants violated these duties by issuing, causing to be issued, or

5    otherwise allowing the material omissions and misrepresentations described herein. The Officer

6    Defendants were well aware of the relevant privacy laws, rules, and regulations.

7           221.    The Officer Defendants consciously breached their fiduciary duties and violated

8    their corporate responsibilities in at least the following ways:

9                   (a)     Failing to ensure the Company’s compliance with relevant legal and

10                          regulatory requirements;

11                  (b)     Engaging in a course of action which lead to violations of the law and

12                          regulations;

13                  (c)     Themselves affirmatively making, allowing to be made, and/or failing to

14                          correct improper statements in SEC filings and other public disclosures

15                          relating to the Company’s operations, internal controls, legal proceedings

16                          and risks (including financial, operational, legal, regulatory and

17                          enforcement, risks); and

18                  (d)     Failing to implement and maintain adequate internal controls to ensure that

19                          adequate management and disclosure of risks.

20          222.    As a direct and proximate result of the Officer Defendants’ breaches of their

21   fiduciary obligations, Amazon has sustained significant damages. Accordingly, the Officer

22   Defendants are liable to the Company.

23          223.    Plaintiff, on behalf of Amazon, has no adequate remedy at law.

24



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1                                      THIRD CAUSE OF ACTION

2                                        Waste of Corporate Assets
3                                    (Against the Individual Defendants)

4            224.    Plaintiff incorporates by reference and realleges each of the preceding paragraphs

5    as if set forth fully herein.

6            225.    As a result of the misconduct described above, the Individual Defendants have

7    wasted corporate assets by forcing the Company to expend valuable resources in defending itself

8    in the ongoing litigation and investigations detailed herein, in addition to any ensuing costs from

9    a potential settlement or adverse judgment or any penalties, fines, or other monetary penalties

10   imposed related thereto.

11           226.    Further, as a result of the failure to allow the Company to implement adequate

12   internal and financial controls, the Individual Defendants have caused Amazon to waste its assets

13   by paying improper compensation and bonuses to certain of its executive officers and directors

14   that breached their fiduciary duties.

15           227.    As a result of their waste of corporate assets, Defendants are liable to the Company.

16           228.    Plaintiff, on behalf of Amazon, has no adequate remedy at law.

17                                    FOURTH CAUSE OF ACTION
18
                                             Unjust Enrichment
19                                   (Against the Individual Defendants)
20           229.    Plaintiff incorporates by reference and realleges each of the preceding paragraphs
21   as if set forth fully herein.
22           230.    By their wrongful acts and omissions, the Individual Defendants were unjustly
23   enriched at the expense of and to the detriment of Amazon. The Individual Defendants were
24   unjustly enriched because of the compensation and remuneration they received while breaching



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1    fiduciary duties owed to the Company.

2            231.    Plaintiff, as a stockholder and representative of Amazon, seeks restitution from the

3    Individual Defendants, and each of them, and seeks an order of this Court disgorging all profits,

4    benefits, severance payments, and other compensation obtained by the Individual Defendants, and

5    each of them, in connection with, from or at the time of their wrongful conduct and fiduciary

6    breaches.

7            232.    Plaintiff, on behalf of Amazon, has no adequate remedy at law.

8                                        PRAYER FOR RELIEF

9            WHEREFORE, Plaintiff demands judgment as follows:

10           A.      Finding that a stockholder demand on the Amazon Demand Board would have been

11   a futile and useless act;

12           B.      Finding that the Individual Defendants breached their fiduciary duties to the

13   Company, wasted corporate assets, and were unjustly enriched;

14           C.      Finding against each Individual Defendant in favor of Amazon for the amount of

15   damages sustained by Amazon, jointly and severally, in an amount to be determined at trial,

16   together with pre- and post-judgment interest at the maximum legal rate allowable by law;

17           D.      Requiring the Individual Defendants to return to Amazon all compensation and

18   remuneration of whatever kind paid to them by the Company during the time that they were in

19   breach of their fiduciary duties;

20           E.      Directing Amazon to take all necessary actions to reform and improve its corporate

21   governance and internal procedures to comply with applicable laws and to protect Amazon and its

22   stockholders from a repeat of the damaging events described herein, including, but not limited to,

23   putting forward for stockholder vote, resolutions for amendments to the Company's Bylaws or

24   Articles of Incorporation, and taking such other action as may be necessary to place before



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1    stockholders for a vote of the following corporate governance policies:

2                    1.     a proposal to strengthen the Company's controls and monitoring of

3    compliance with anticompetition, antitrust, and privacy laws, including BIPA;

4                    2.     a proposal to strengthen the Company's controls over accounting and

5    financial reporting;

6                    3.     a proposal to strengthen the Board's supervision of operations (including

7    research & development along with third-party contracts) and develop and implement procedures

8    for greater stockholder input into the policies and guidelines of the Board;

9                    4.     a proposal to strengthen Amazon’s disclosure controls to ensure material

10   information is adequately and timely disclosed to the SEC and the public;

11                   5.     a provision to permit the stockholders of Amazon to nominate at least three

12   candidates for election to the Board;

13                   6.     a proposal to appoint additional independent board members with

14   established reputations in the IT/biometrics industry and with substantial experience in

15   governance, risk, compliance, cybersecurity, and consumer privacy issues;

16                   7.     a proposal to enhance and/or augment the audit, risk and compliance

17   committees of the Board to oversee internal controls and compliance processes;

18                   8.     a proposal to ensure that the Chief Compliance, Risk and Legal Officer(s)

19   and other company leadership have (a) necessary subject matter and regulatory expertise; (b) direct

20   reporting authority to the Board; and (c) adequate autonomy and resources to carry out their

21   responsibilities;

22                   9.     a proposal to review and implement revised codes of conduct, policies and

23   procedures, training, integrity hotlines, auditing and monitoring processes and procedures;

24                   10.    a proposal to review and implement policies and procedures for escalating



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1    internal and regulatory issues internally and to the Board; and

2                    11.    a proposal to review and implement the confidential reporting structure and

3    investigative process of complaints within the company;

4           G.       Directing Defendants to establish, maintain, and fully fund effective corporate

5    governance and compliance programs to ensure that Amazon’s directors, officers, and employees

6    do not engage in wrongful or illegal practices;

7           H.       Granting additional appropriate equitable and/or injunctive relief to remedy the

8    Individual Defendants’ misconduct, as permitted by law;

9           I.       Awarding Plaintiff the costs and disbursements of this action, including reasonable

10   attorneys’ and experts’ fees and expenses; and

11          J.       Granting such other and further relief as this Court deems just and equitable.

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1                                          JURY DEMAND

2        Plaintiff demands a trial by jury as to all issues so triable.

3        Respectfully submitted, this 9th day of June, 2022.
4
                                                   /s/ Gregory F. Wesner
5                                                  Gregory F. Wesner, WSBA No. 30241

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     1                                                  VERIFICATION

     2               I, Francis Gimbel Jr., hereby verify that I am familiar with the allegations in the
     3      Verified Stockholder Derivative Complaint (“Complaint”), and that I have authorized the
     4
            filing of the Complaint and that the foregoing is true and correct to the best of my knowledge,
     5
            information, and belief.
     6
                                    8
                     Executed this ____ day of June, 2022.
     7

     8
                                                                         Francis Gimbel Jr.
     9

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